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SETTLEMENT AGREEMENT REGARDING CLAIMS AGAINST
INTERIOR-EXTERIOR IN MDL NO. 2047

EXHIBIT 1.10 - LIST OF DOWNSTREAM —
INEX RELEASEES
Case 2:09-md-02047-EEF-MBN Document 8628-4 Filed 04/26/11 Page 2 of 18

‘SUPPLIER AND
“SHIP TO” RECIPIENT —
DOWNSTREAM INEX RELEASEES

(Downstream InEx Releasees Include Entities and
Persons in Left-Hand Two Columns)
Case 2:09-md-02047-EEF-MBN Document 8628-4 Filed 04/26/11

Custname

FASTWAY ACOUSTICS, LLC
LOUJON, INC

MARKEL LUMBER COMPANY
INTERIOR SYSTEMS OF LA., INC
MORRISON TERREBONNE LUMBER
ANDREWS HARDWARE CO,, INC.
ASSOCIATED DRYWALL, INC.
STATE LUMBER & SUPPLY CO., INC
LOUISIANA DRYWALL

CREOLA ACE HARDWARE, INC,
CHANEY LUMBER & SUPPLY, INC.
COX'S DRYWALL

BAILEY LUMBER & HOME CENTER
FORD LUMBER & SUPPLY CO.

B & M DRYWALL & ACOUSTICS
GULF SHORES BUILDERS SUPPLY
KITTRELL ACOUSTICS, INC.
MEDITERRANEAN TILE INC

LADD SUPPLY COMPANY, INC.

84 LUMBER CO

LOWES COMPANIES/LOWE'S CPT
JACKSON METALWORKS INC
RICHARDSON DRYWALL
ANDREWS HARDWARE AND SEED
ANDREWS ACE HOME CENTERS —
SWIFT SUPPLY, INC.

HOLMES BUILDING MATERIALS
HOME TOWN LUMBER & SUPPLY INC
BLANCHARDS BUILDING MATERIAL
NU LOOK WALLS INC

SEALS DRYWALL

REGIONAL DRYWALL

OCEAN SPRINGS LUMBER CO, LLC
W, S. KEEL LUMBER CO., INC

STINE LUMBER COMPANY INC
BENNDALE HARDWARE & BUILDING
E & E ACOUSTICAL & ORYWALL INC
PHILLIPS ABITA LUMBER CO INC
CURRENT ELECTRIC INC

PARISH HOME CENTER

NEWMAN CONSTRUCTION SUPPLY, INC
ALL AMERICAN INTERIORS
ANDERSON DRYWALL INC

PICOU BUILDERS SUPPLY CO INC
ALABAMA SPECIALTIES INC

JOHN ESCHETE DBA ACE DRYWALL
S & W DRYWALL INC

ANTHONYS DRYWALL INC
EASTERLING INSULATION INC
SERVICE CONST SUPPLY INC

FORD LUMBER OF ROBERTSDALE INC
LOUISIANA LUMBER INC

THE HOME DEPOT

B & B ACOUSTICAL AND DRYWALL
SOLES DRYWALL

MORGAN & PHILLIPS ACOUSTICAL
SWIFT SUPPLY #2

ACME DRYWALL INC

LOUISIANA LUMBER INC

BUILDERS GYPSUM SUPPLY LLP
ALLEN SPECIALTY, LLC

COUSINS PAINT & DRYWALL SUPPLY
ACCURATE INC.

RL DRYWALL

4 &LINTERIORS

THE HOUSTON CO LLC

WAYNE THE PAINTER RESTORATION
K MT PAINTING & DECORATING

Shiptoname

MIKE

LANZA INSURANCE

MARKEL LUMBER COMPANY
INTERIOR SYSTEMS OF LA., INC
SHELIA 985-879-1597

SNOW HOMES - PUGH JOB
LIGHTHOUSE BAPTIST CHURCH
9789 FALSE RIVER RD.
CREEKSTONE SHOPPING CENTER
BESSEMER SALES

CHANEY LUMBER & SUPPLY, INC.
BABBER

BAILEY LUMBER & HOME CENTER
1708 ROACH ST

B & M DRYWALL & ACOUSTICS
229 EAST 20TH STREET
MASLAND CARPETS

SHOWROOM

LADD SUPPLY COMPANY, INC.
STORE #1806 WAVELAND MS
LOWES OF HOUMA STORE #596
ATMORE ABC

RICHARDSON DRYWALL
ANDREWS HARDWARE AND SEED
ANDREWS ACE HOME CENTERS
SWIFT SUPPLY, INC.

LOT 32 LIVE OAK LANDING

HOME TOWN LUMBER & SUPPLY INC
BATON ROUGE SALES ‘
LAUREL ST.

SEALS DRYWALL

BAY PARK APARTMENTS

OCEAN SPRINGS LUMBER CO, LLC
W. S. KEEL LUMBER CO., INC
8925 OAK CREEK LANE
BENNDALE HARDWARE

FAMILY DOLLAR

ROBERT REED

CURRENT ELECTRIC INC

PARISH HOME CENTER

NEWMAN CONSTRUCTION SUPPLY, INC
ALL AMERICAN INTERIORS

LOT 21 PLANTATION

LIVE OAK LANDING

GALLERIA

RON LEE

WHOLE FOODS

LOT# 14 LAKE FOREST
EASTERLING INSULATION INC
FOR STOCK

RIVERTON JOB

CHITTENDEN HOMES

THE HOME DEPOT # 357
BOTANICAL PLACE LOT # 8

HOST CONSTR.

UNIVERSAL TOOL

DOBBINS / GAMBY

29011 HAYDEN DRIVE

CELEBRITY CONTRACTORS
BUILDERS GYPSUM SUPPLY LLP
ALLEN SPECIALTY PRODUCTS
COUSINS PAINT & DRYWALL SUPPLY
#12 PELHAM

LAKES AT BELLE TERRE

TOM BROWN HOUSE

CASTLE PINES

MILLENNIUM CONST & RENOY D/B/A
KMT PAINTING & DECORATING

Shiptoaddri
4323 SINCLAIR

1411S, RENDON STREET
AUTOZONE STORE 3869
SOUTHERN COMFORT
MAP TO COME

HWY, 21 & |-12
MAIN ST
9602 FREDERICK PRIVATE RO

CHATEAU DELVELOPMENT
14355 BIG JOHN RD

WADE WARD UNIT-10
209 INDUSTRIAL PARKWAY

Shiptoaddr2 |
BARATARIA BLVD.

EAST GAUSE
FLOUNDER COURT

BUMBLE LANE

Page 3 of 18

Shiptocity
CHALMETTE
MARRERO
NEW ORLEANS
SLUDELL
DULAC
JACKSON
MOBILE
FALSE RIVER
COVINGTON
PRICHARD
ABBEVILLE

LOT 14 ARCIDAN VILLIAGE GAUITER

2538 POYDRAS B/W GALVEZ & BRO# MARIO 415-2227 KEITH 41{ NEW ORLEANS

1250 WOODLANDS ROAD
HUNNICUTT (SEE MAP)

344 CHATEAU DRIVE

HWY 21

JORDAN DRIVE {LAST HOUSE)
72 SANDSTONE DR

JOE COOK

7401 PINE BARREN ROAD
CONTACT: WADE 445-5838
CORR {DUKES CONSTRUCTION}

LOT#28 GRAND CHAMPION
C/O REGIONAL DRYWALL
MOSES HERBERT

345 FLEITAS AVE

VERMILION COUNTRY ESTATES
37926 HWY 57

OFF OF 31ST STREET ?

68300 REED RD

RICHIE 1-504-723-5139

P O BOX 367

22843 ROSE BUD CIRCLE
CONTACT ROBERT 335-7269
LOT 12

JOB# 10169

POST OAK LOT 37

HWY 280

641 35TH ST

254 MORPHY AVE
JOHN DUFFY 985-643-6070
9613 OCTAVIA AVE

BEDICO TRACE
DEER FOOT PARKWAY
12280 TALL PINE ROAD

225 MISSION CT.

2015 PASKET LANE
STARKS CONVENT
NEAL 278-9882 OFFICE
GUY 376-3565

LOT 2B

368-3608

LOT #329

BOB 908.5609

DILLARD

PRICHARD

TREASURE BAY BILOXI

SIDE DOOR GULF SHORES

SUITE J SARALAND
CHICKASAW

21080 HWY 43(CALL 1ST) KILN

TOD/ 985-637-2028 LOCKPORT
ATMORE

CALL MIKE FIRST BAY ST LOUIS
JACKSON

TURNERVILLE FARMS CT SARALAND
ATMORE
DENHAM SPRINGS

515 AMELDA ST WAVELAND
BATON ROUGE
NEW ORLEANS
SLIDELL

40 BAY PARKWAY TOPS BAY STLOUIS

6912 CHEYENNE ST MARTIN
PASS CHRISTIAN

CONTACT #319-6566 ABBEVILLE

601-753-2534 LEAKSVILLE
B'HAM

ROBERT 960-3439 PEARL RIVER

6443 CRUMP ROAD KILN
ZACHARY
BATON ROUGE

JOHN 251-979-8841 ROBERTSDALE
BRULLY

“*5EE DIRECTIONS BELOW’ WATSON
HOOVER

JOHN
B'HAM
ALAVBASTER
GULFPORT
BIRMINGHAM
FAIRHOPE

737 EMERALD NEW ORLEANS

PARLANGE SUB BATON ROUGE
BIRMINGHAM
PONCHATOULA
RAINBOW CITY
BAY MINETTE
ORANGE BEACH

ED 415-9022 R 985-643-60 AVONDALE
HOUSTON

CEDAR LAKE ROAD BILOXI

2404 PELIETERE ST. CHALMETTE
METAIRIE

OFF HWY 16 WATSON
ST CLAIR CO
GARDENDALE

1462 MIRTHRA NEW ORLEANS

BLOG 43 KENNER
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JACK'S HOME IMPROVEMENT CENTER
SWIFT SUPPLY INC

SWIFT SUPPLY INC #9

GULF COAST DRYWALL LLC
ACOUSTICAL & DRYWALL

SOUTH ALABAMA MAINTENANCE &
ADVANCED WALL SYSTEMS INC
DRYWALL PLUS LLC

WHITLEY DRYWALL INC

DRYWALL SERVICES INC.
ADVANCED INTERIORS INC
AURORA COMMERICAL

PRIMARY COLORS

CHASE DRYWALL, LTD

LEM ORYWALL, INC. DBA

TECHE LUMBER & BUILDING
GATOR ACOUSTICAL

RUSH MASONRY INC

JOE BELK ACOUS. & DRYWALL CO,
ACE ROOFING LLC

CLAYSSIC HOME INNOVATIONS

G T M BUILDING SUPPLY INC
ACTION GYPSUM SUPPLY LP
PATKE'S DRYWALL

MOBILE WALL WORKS

TITAN DRYWALL INC

CHILTON SUPPLY INC

PINNACLE CONTRACTING INC
DRYWALL DONE RIGRT

COASTAL HDWR & RENTAL CO, LLC
BAKER DRYWALL HOUSTON, LTD
RAINTREE SYSTEMS INC

PERILLOUX DRYWALL

FASTRAK COMMERCIAL INTERIORS L
DALBERT POREE GEN REPAIR & REN
L. & B ACOUSTICAL SYSTEMS
DINON PRECAST INSTALLATIONS IN
MISTRETTA BUILDERS & REPAIRS
FLORIDA MARINE TRANSPORTERS
JACKS DRYWALL

RH HERNANDEZ DRYWALL INC
MOBILE LUMBER & BUILDING
DIAMOND HOME IMPROVEMENT INC
FAIR ENGINERRING SALES INC
BONNER'S ACOUSTICAL CONTR INC
M & E RENOVATION AND REPAIR LL
PASS CHRISTIAN BLDG. MATERIALS
OTTAWA DRYWALL INC

WOLFE LUMBER SUPPLY INC
ANTHONY'S LANDSCAPING

SMITH BUILDING MATERIALS
SORRENTO LUMBER CO {NC
WESTSIDE DRYWALL INVESTMNT INC
EASTERN WALLBOARD SUPPLY INC
DUCKY DRYWALL

MATTHEW MARR WALLCOVERING &
DEALERS WHOLESALE SUPPLY CO
CENTRAL BUILDERS SUPPLY -
UNIVERSAL SUPPLY

THOMAS DRYWALL

ONE CALL INC

ACE SUPPLY INC

RESOURCE RENTAL & REN LLC
SOUTHERN DRYWALL SUPPLY
CYPRESS ENTERPRISES LLC

NEW ORLEANS FLOORING

STANLEY SMITH DRYWALL INC
SPIER DRYWALL

PRESTIGE FLOORING CO INC

JACK'S HOME IMPROVEMENT CENTER ‘-
SWIFT SUPPLY INC

SCOTT CROFT

COLONIAL MALL

OLD VINCENT MARKET

SOUTH ALABAMA MAINTENANCE &
RUBY TUESDAY TOMBALL PARKWAY
DRYWALL PLUS LLC

6610 S. OAK

DRYWALL SERVICES INC.
ADVANCED INTERIORS INC
SPRING LAKES

MONEY HILL

CHASE DRYWALL LTD

PINE @ MASON CREEK
JEAMMINETTE BUILDERS

GATOR ACCOUSTICAL

BEERMAN :

JOE BELK ACOUS. & DRYWALL CO.
ACE ROOFING LLC .
2905 OVERTON ROAD

GTM BUILDING SUPPLY INC
ACTION GYPSUM SUPPLY LP
CABLE COMMUNICATIONS
MOBILE WALL WORKS

LAKEMONT

CHILTON SUPPLY INC

2182 PARK DR.

CHRIS PAYNE

COASTAL HARDWARE & RENTAL CO
IC PENNY

WHIPPERWHILL

PERILLOUX DRYWALL
MCDONALDS

5500 FELICIANA/MENDEZ
MEMORIAL PARK SCHOOL

DINON PRECAST INSTALLATIONS IN
MISTRETTA BUILDERS & REPAIRS
216 OAK LANE LEWISBERG EST
PETE'S CROSSING

1605 NICHOLE WOODS

MOBILE LUMBER & BUILDING
2022 ST SCOLASTICA

TCHFUNCTA COUNTRY CLUB
BONNER'S ACOUSTICAL CONTR INC
BREUX

KELLY CONDOS

OTTAWA DRYWALL INC

627 LAMONTE LANE

ANTHONY'S LANDSCAPING

35140 WEISS ROAD

LOT 130

CANYON LAKES @ STONE GATE
EASTERN WALLBOARD SUPPLY INC
HOME REMODEL

WI! HEALTH CENTER

LOTH 12 FERN CREEK

LOT# 18 BROOKHAVEN

EPCO CONSTRUCTION

THOMAS DRYWALL

WEST CHESTER ARMS

ACE SUPPLY INC

BEAU ARBRE

SOUTHERN DRYWALL SUPPLY
HIDEAWAY COURT

NEW ORLEANS FLOORING
COVENANT WOODS

COLORADO STREET

JACK REYNOLDS

-747 HALL ST

26100 VIA DEL SANFRANCISCO

BROOKWOOD VILLAGE
DIABETES CENTER
17117 TOMBALL PARKWAY

JOB: CHICO'S JACKSON BREWERY

GOLD COAST BUILDERS
WILDWOOD SUBDIVISION
2700 FM 1960

907 COLORADO SPRINGS
LOT 56 CHINAWOOD DR.
11414 ST. GERMARN

1015 SWEET PINE

JACKS

GARY 415.7556
ROSCOFF

11145 KINGBIRD ROAD

JEFF ALFORD

12225 FM 529

1408 FM 1774 BEFORE 105
12363 GRAND BAY FARM CT
21107 GRANITE TRAILS
P.O. BOX 1417

DEANNA 781-5182

12794 STATELINE RD
LACOSTE

5120 FAIRMONT PKWY
81149 OSPREY

LOT 239 COLES CREEK
4717 NORTH STREET
DALBERT 957-7250
RETURN FROM DRAY

9142 CLERMONT AVE.
PICK UP

EDDIE 985-373-8334

LAST HOUSE ON RIGHT
CITY PARK

CHERRY BARK BUILDERS
DOMINICK 985-707-7131
45 MISTLE TOE DR.
DELIVER TO OFFICE
HASTINGS

590 ROYAL OAK
EASTERLING INSULATION
KENNY 985-335-4575

NO 3 ASHLEY CT
CONTACT: BRUCE 650-0007
LAKESHORE GARDEN
16526 GRENADA FALLS
101 E. 18TH ST.

13970 GEORGE YOUNCE RD.
MATHEW

BLAKE BAILEY 344-0856 CELL
MOFFET RD WAREHOUSE
3700 PONTCHATRAIN BLVD.
P.O. BOX 210369

LOT 6 DONT PUT IN GARAGE
KELLY PICK UPO

4200 EUPHROSINE
1411 THOMPSON CIRCLE

109 N ROADWAY

Page 4 of 18
DELIVER TO THE STORE... WIGGINS
ORANGE BEACH
LOT #9 LA CASA SUB DAPHNE
FOLEY
WEST OF APPLEBEES B'HAM
THOMAS HOSPITAL FAIRHOPE
JACK 281-701-2642 HOUSTON
GARY
SEE MAP DICKINSON
MCNIEL
ARTURO 281-226-2579 HOUSTON
SERGIO 281-324-6652 SPRING
SAM 778-6309 TALISHEK
ROYAL OAKS
281-445-3255/ MAP ATTAC HOUSTON
2513 OLIVIER ROAD NEW IBERIA
SCOTTSBURRO
130 BAYOU CIRCLE GULFPORT
NEW OFFICE GRAND BAY
BIRMINGHAM
160 ROUND RANCHRD “ PICAYUNE
HOUSTON
BILLY 713-249-2140 PLANTERSVILLE
GRAND BAY
HAMMOND HOUSTON
DELIVER TO WAREHOUSE CLANTON
FREAMEAUXTO 11THST. SLIDELL
KENTWOOD
13031 HWY 603 BAY ST LOUIS
PASADENA
JACK 504-669-0330 BUSH
BRAD 969-0861 PONCHATOULA
MIKE 832-202-7087 LUFKIN
2ND 400-6070 NEW ORLEANS
#5 961483 &962970 B'HAM
RICKY 466-2639 BAY ST. LOUIS
LEWISBERG EST MANDEVILLE
OFF BURGESS ROAD WALKER
PARKSIDE ALVIN
LOT 40 THE BRIARS GULFPORT
SLIDELL
CHARLIE 504-669-8217 | MADISONVILLE
GADSDEN
METAIRIE
PASS CHRISTIANS
OFF HWY 53 GULFPORT
PONCHATOULA
985 290 1522/504 382.027 SLIDELL
WATSON
BATON ROUGE
PULTE HOUSTON
ROME
FOLEY
NEW ORLEANS
SPRINGVILLE
MARGERET
2605 CREELY ST. CHALMETTE
MOBILE
649-5548 SLIDELL
MONTGOMERY
MIKE BYRD 373-8003 COVINGTON
COVINGTON
ORANGE BEACH
DEBBIE(S21-8111)X 1 NEW ORLEANS
GARDENDALE
HAMMOND

874-2441

S55

LA

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CORRECT CUSTOM DRYWALL, INC. -
GLS SUPPLY, LLC

VANCLEAVE OLD PLACE HARDWARE
ALL AMERICAN ROOFING, LLC
KENTWOOD HARDWARE AND SUPPLY,
BELL ROOFING CO, INC.

PINE HARDWARE & LUMBER INC.
BEST BUILDING & SUPPLY LUMBER
KITCHEN DESIGN SPECIALISTS, LL.
ACCURATE ELECTRICAL SVC., INC.
FINISH ONE DRYWALL, LLC

STONE SHEETROCK COMPANY
EAGLE DRYWALL, INC. J/P

LEBARON BROTHERS DRYWALL, LLC
DRYWALL SPECIALTIES, INC.
LORANGER HARDWARE & SUPPLY, LL
HOME DECORATING CTR. OF FRANKL
PORT SULPHUR ACE HARDWARE, INC
JUDICE BUILOING SUPPLIES INC
MEAUX LUMBER STORE, INC.
SOUTHERN BUILDING SUPPLIES
PERSONS SERVICE CO.

SOLES CO. DRYWALL

SLIDELL INTERIORS, INC.

LDJ, Lic

MM CARBINE RESTORATIONS

BASIC ORYWALL INC

PARKER BUILDING SERVICES INC
BUILDING INTERIGRS

8 & B SYSTEMS INC

ROBERTSON DRYWALL & ACOUSTICAL
WARRIOR DRYWALL & ACOUSTIC INC
PROLINE DRYWALL, INC.

HELVESTON PAINT & ORYWALL
REGIONAL CEILINGS INC

DESTIN DRYWALL & PAINT INC
BOARDWALK DRYWALL, INC.

NEW PORT RICHEY, FL

JARREAU'S DRYWALL, INC.
BATON ROUGE, LA

ED PRICE SUILDING MATERIALS
BATON ROUGE, LA

HAROLD FRANK CAUSEY
ETHEL, LA .

LOWE'S COMPANIES, INC.
WILKESBORO, NC

KCG, INC.
LENEXA, KS

SWIFT LUMBER, INC.
ATMORE, AL

GUSTE ISLAND

GEORGE 251-8833

VANCLEAVE OLD PLACE HARDWARE
ALL AMERICAN ROOFING, LLC
KENTWOOD HARDWARE AND SUPPLY,
5439 MARCIA AVE

PINE HARDWARE & LUMBER INC.
2330 ORLEANS

KITCHEN DESIGN SPECIAUSTS, LL
HELTEMES LANE

LOT 316 PELICAN POINT

STONE SHEETROCK COMPANY
CHELSEA CROSSINGS

LEBARON BROTHERS DRYWALL
62219 GRAHAM RD

LORANGER HARDWARE & SUPPLY, LL
MISSION MINISTRIES

CLARK FONTAIN 329-4597 CELL
ANDREW CAMACHO HOUSE

GREG FOREMAN

WORK CONSTRUCTION

PERSONS SERVICE CO.

SOLES CO. ORYWALL

34585 BAYOU LIBERTY RD.

2128 S. Gaysos

JERRY 895-9016

DARRYL'S HOUSE

LOCUST FORK SPEC HOUSE

. 4328 MAPLEWOOD DRIVE

B&B SYSTEMS INC

ROBERTSON DRYWALL & ACOUSTICAL
SPENCER BUILDING

NEW WALLMART HWY 165
HELVESTON PAINT & DRYWALL
COMES :

WALMART

_ BUILDING #4-- Lok

3127 OLD IVY ROAD

DERRICK TILLMAN 861-5514
JOB: 4918 FRENCHMAN

1057 HARRISON DR

DAVID 616-7721/FAX 285-3524
28261 BUD SLOCUM RD

ROD 985-502-2772

37761 HWY 59

LOT 72

6042 JONATHAN ALARIS AVENUE
RIVERGATE CIRCLE

16054 HWY 280

133 BRYANT ST

NICK 504-467-7273

54214 ELUS BLD

HWY 48

CONNIE'S CELL #416-3898

709 ODAY RD

130 BREAUX

LAKESHORE DR. NEXT 2 RIPS
2805 GRANT ST

46403 RIVER ROAD

ACROSS FROM BAYOU LIBERTY

LOT #692
RETURN DRAY # 966584

CHEVERON

WALMART FAIRFIELD
1ST / 3RD / 4TH FLOOR
ED 251-685-8206
MARIC MARON

SEE MAP

460 HWT 90

#101, 103, 105,270... MADISONVILLE
IRONDALE —
LOT 18 POPCORN AVE — VANCLEAVE
BEN/ 228-5839 NEW ORLEANS
MCCOMB
NO 2ND# NEW ORLEANS
RANDY 985 848 S737 FRANKLINTON
OFF OF HWY 59 MANDEVILLE
225 567 3770 ABITA SPRINGS
JEFF 966-0222 LACOMBE

CONTACT: JAY 266-3156 GONZALES
32860 RIVERGATE CIRCLE SPRINGFIELD
ACROSS FROM WALMART CHELSEA
504 201 8003 MANDEVILLE
AMITE .
LORANGER
JAMES DANIEL 985-516-13 IMPROVE
30440 HWY. 23 PORT SULPHUR
ST MARTINVILLE
LAFAYETTE
JOHN 966-1294 MANDEVILLE
BUDDY 660-0132 ; 423115 MOBILE
HAMMOND
WATER SLIDELL,
New Orleans
. NEW ORLEANS
VESTAVIA HILLS
LOCUST FORK
TRUSSVILLE
HOOVER
FAIRFIELD
2ND AVE SOUTH & RICHAR B'HAM
OAK ADALE
216 PINEWOOD (TIMBERRI PASS CHRISTIAN
FAIRHOPE
WAVELAND

919 CONSTANTINOPLE
LIBERTY PARK

PESERREEEESES

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a

BESSSEESSEESESSSE EES RES
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CONTRACTOR, ETC. AND
“SHIP TO” RECIPIENT
DOWNSTREAM INEX RELEASEES

(Downstream InEx Releasees Include Entities and
Persons in Left-Hand Two Columns)
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Custname Shiptoname Shiptoaddr1 Shiptoaddr2 Shiptocity Ship
G, R. HARVILL, INC. STEELWOOD LODGES 32511 WATER VIEW DREAST UNITS LOXLEY AL
GIBBS CONSTRUCTION LLC GUSTE HOUSING / TRUE WALL DANNY 247-2426 2226 THALIA NEW ORLEANS LA
LANAUX CONSTRUCTION CO. LAKESHORE DR. JIMMY ‘

ROY J, GROSS CONTRACTOR, INC. 38 BRITTINY PL ROY 415-5757 ARABI LA
H& LCONSTR. & RENOVATION INC H& LCONSTR. & RENOVATION | 20366 BARBARA AVE TOM 966-4406 COVINGTON 1A
HILLSIDE BUILDERS LAKESIDE SHOPPING RADIO SHACK LA
MECHANICAL CONST. CO, OF N.O. 908 ST. LOUNS/BLK FRM TOULOU MIKE 329-7930 2ND # 717-3610 NEW ORLEANS LA
RONALD L. KARCHER CONST, CO, JOHN QUINN 915-0901 1911 RIDGEWOOD METAIRIE lA
KEMPER CONSTRUCTION CO., INC, BARRET ST LARRY

M GM CONSTRUCTION CO INC MGM CONSTRUCTION CO INC TROY 416-0422 CELL 4129 E. LOYOLA DRIVE KENNER LA
T.E. MONTGOMERY CONST. CO. BEARD . MOBILE AL
ARTIGUES CONSTRUCTION CO., INC STATE FARM 4801 GENERAL MEYER STE F DARREN 253-1822 ALGIERS lA
NATHAN BOUDREAUX GEN. CONTR. NATHAN BOUDREAUX GEN. CON 1938 STEVEN GERARD ELDON 214-9925 NEW ORLEANS A
ELRAY KOCKE SERVICES, INC. C&R BUILDER/ KOCKE 25447 JUBANS ROAD SEE DIRACTIONS DENHAM SPRING LA
CRAIG L. JERNIGAN ALABAMA POWER IN PRICHARD OFF HWY 45 BESIDE WATER TOWER PRICHARD AL
HIGHLAND COMMERCIAL CONST INC BREMEMAN

AUTRY GREER & SONS, INC. JACK GREER 2935 NORTH STREET ~ BELLE FOUNTAIN AL
ISACKS CONSTRUCTION CO., INC, ISACKS CONSTRUCTION CO., INC 327 WEST LIVINGST ON LEONARD 833-0234 METAIRIE LA
PICOU-FRADELLA CONST. CO.,JNC. TEXTRON MARINE LESTER , 19401 CHEF MENTEUR F NEW ORLEANS LA
GOOTEE CONSTRUCTION, INC. RITZ CARLTON HOTEL RICHARD ROBERTS 412-8253 W! IBERVILLE ST, - OFF CAN, NEW ORLEANS LA
CYPRESS COLUMNS CONST INC OSCAR 554-7859 2808 CALHOUN NEW ORLEANS LA
NOLAND CONSTRUCTION CO. NOLAND CONSTRUCTION CO. LOT 6 CAMBRIDGE CT FAIRHOPE AL
JOSEPH L. ARRINGTON CONST. JOSEPH L. ARRINGTON CONST. AVERALCT. MOBILE AL
MAPP CONSTRUCTION LLC NICK 225-268-1295 3071 GENTILLY NEW ORLEANS LA
COASTAL BUILDERS COTTAGE AT POINT CLEAR 17861 SECTION ST. FAIRHOPE AL
BRAITHWAITE CONSTRUCTION CO. 2400 ARAMIS AMANDA 271-9950 MERAUX LA
M BD CONSTRUCTION CO., INC. MYRTON BONNER DUNCAN CONST.

HACKETT CUMMINS CONST. CO.,INC = HACKETT CUMMINS CONST. CO. 610 ST LOUIS ST PASS CHRISTIAN MA
DELANEY DEVELOPMENT, INC. DELANEY DEVELOPMENT, INC. 1166 WEST 1-65 SERVICE RD SUITE D MOBILE AL
HERB FISHER CONST. CO., INC. HERB FISHER CONST, CO., INC. PHILLIPS MOBILE AL
CUSTOM DRYWALL & INTERIORS,INC CUSTOM DRYWALL & INTERIORS 67475 SOUTH STRAIN RD. MANDEVILLE LA
ROB'T J. BAGGETT, INC. KIMBERY CLARK JOB - 718-9301 MOBILE AL
POUCHER CONSTRUCTION COMPANY 3317 DELILLE ST BOBBY 415-4442 NO 2ND# CHALMETTE lA
K SEY CONSTRUCTION INC K SEY CONSTRUCTION INC SOUTHERN ABTH

DEROSE BUILDERS INC, 1910 E ST, BERNARD HWY TOMMY 421-8191 NO 2ND# CHALMETTE LA

9 CLAIRBURN ST
HENNINE INOVATIONS

MELVIN PIERCE PAINTING, INC

MCS CONTRACTING INC ROBERTSDALE AL

STYX RIVER MYLES TO LEAD INT

LIVERS CONSTRUCTION INC LIVERS CONSTRUCTION INC 1726 LAKESHORE DR. LOUIS 723-5916 NEW ORLEANS LA
GRESCO INC MCDONALDS HWY 49 ACROSS FROM HOOTERS GULFPORT MS
ROCHE CONSTRUCTION CO ROCHE CONSTRUCTION CO 2 HAWK ST TOM 250-3747 NEW ORLEANS

TNT INTERIOR INC HENDRICK 17372 HEY 16 AMITE lA
LAKE DEVELOPEMENT CONSTRUCTION 2424-2426 DIVISION STREET BUILDING 11 JIM HERNANDEZ/ 382-9( METAIRIE LA
HENRY B HAHN HENRY 8 HAHN 352-4527 4153 STATE ST. DRIVE 2ND #616-5573 NEW ORLEANS
SOUTHERN HOMES LLC 1236 PENCARRO BLVD. LOT 93 FOLEY AL
CRAMER'S INTERIOR SPEC. 3915 ST CHARLES AVE.

GEORGE P HOPKINS INC GEORGE P HOPKINS INC 122 SYCAMORE ST TIMBER RIDGE PASSCHRISTIAN MS
TERRY TEDESCO INC 13 BERESFORD RAWLINS 908-5867 METAIRIE CLUB ESTATES METAIRIE LA
THE LEMOINE COMPANY LLC THE CARRIAGE HOUSE CONDO § 603 SILVERSTONE RD LAFAYETTE

ROBERDS CORPORATION FAIRHOPE ART CENTER 401 OAK AVE FAIRHOPE AL
JOHN L CROSBY INC LOT 277 CARDINAL SANCTUARY MANDEVILLE lA
JOSEPH A VIRGADAMO CONST CO 6744 GENERAL HAIG JOE 239-3164 NEW ORLEANS LA
NOLMAR CORPORATION 1150 WICKER NEW ORLEANS
ALADDIN CONSTRUCTION CO INC ALADDIN CONSTRUCTION CO INI DR. ROSE OFFICE BILOXI MS
YARCO CONTRACTORS INNERARITY POINT PERDIDO KEY FL
AYMOND CONTRACTORS LOT 64, 414 HIGHLAND OAKS SO JULIE 985-792-0751 LESLIE 985-845-3414 MADISONVILLE
RENOVATIONS BY IMPASTATO JERRY 723-0657 6201 AIRLINE @TREFNEY BEHIND DAIQUIRIS METAIRIE ua
SUNRISE CONST, & DEV. LLC LOT 89 17491 HILL DRIVE CONTACT: JENNIFER 225 PRAIRIEVILLE
HALLMARK HOMES INC AUTUMN WIND LOT 67 MANDEVILLE

DNPINC DN PINC 670 KENNEDY LANE DWAYNE 762-1186 BILOXI MS
DENNIS LANGAN CONSTRUCTION BROWN 20 ELIZA JORDAN RD. SEMMES(UNIC) AL
ROY LEWIS CONSTRUCTION CORP. ROY LEWIS CONST 3180 MOFFET DR. MOBILE AL
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HENNING CONTRACTORS INC LOT #18 ARBOR WALK 1-12 TO HWY. 21 SOUTH MADISONVILLE lA i
STRAIT LING CONST ERSHIGS 12050 INTERCHANGE DRIVE RONNIE 391-1354 GRAND BAY AL :
ARCHER BROTHERS CONTR HWY 65 AND 12 NEXT TO GAS STATION ELECTRIC AND GENERAT FOLEY AL i
CHIMENTO HOMES BUILDERS CHIMENTO HOMES BUILDERS 2966 CAMILIA DR PALM LAKE WES 707-37: SLIDELL LA {
LIFESCAPE BUILDERS LLC LOT# 694 BOULDER LAKE BASEMENT LIBERTY PARK AL 4
UNITED-BILT HOMES INC : D'AMATO LOT 2 CARTER PURVIS ROAD ALBANY LA :
CATRANIS ENTERPRISES INC WESTWOOD SQUARE AIRPORT BLVD BILL-463-2872 MOBILE AL :
FENNELL CONST iNC FENNELL CONST INC : PO BOX 33 LONG BEACH MS :
SPECIALTY CONTRACTORS & ASSOC, = SPECIALTY CONTRACTORS & ASS P. 0. BOX 7001 SILVER SLIPPER WAREHF GULFPORT MS *
MILLER BLDG CO INC RHETT 818-6465 CELL CATHY 885-8336 OFFICE 209 SENA DRIVE METAIRIE LA :
MID SOUTH CHURCH CONST MORNING STAR BAPTIST GREENWELL SPRING LA “
WILLIAM L BEERS CONST LOT# 707 BROADWAY HOMEWOOD AL
STARKS CONTRACTING CO., INC. IRIS STANFIELD 474 FORREST AVE BILOXt MSs !
SUNRISE CONST. & DEV LLC SUNRISE CONST. & DEV LLC LOT 22 FAIRFIELD . GAUTIER MS i
SULCO CONSTRUCTION CO, BADCOCK FURNITURE HWY 43 ACROSS FROM REGIONS SARALAND AL i
S JS ENTERPRISES INC 3570 DESAIX NEW ORLEANS {A :
JIM WALTER(GULFPT)HOMES, INC. JIM WALTER(GULFPT)HOMES, IN JAMES E WELLS JR MCLAIN RD MOSS POINT Ms i
E, JACOB CONSTRUCTION CO. INC LOT 47 DUTCHTOWN VILLAS 12322 DUTCHTOWN VILLA DR. CONTACT: PAUL439-41t GEISMAR LA :
H GORDON MYRICK INC H GORDON MYRICK INC SCOTT OLIVER HOUSE 4100 FENLEY ST GULFPORT Ms i
TRADEMARK CONSTRUCTION, INC. TRADEMARK CONSTRUCTION, IN SEA OATS BUILDING G GULF SHORES AL :
WEIDNER ENGINEERING, INC 5458 DANA COURT LAKEWOOD LARRY 712-1373 NEW ORLEANS LA
B & G CONSTRUCTION 3035 OAKCREST CONTACT GARRET 413-0233 BATON ROUGE LA
ERNST CONST CO INC 1275 COUNTRY CLUB DR OFF COLLEGE CL;OSE TO WEBB F DON 335-3158 CALL 84 | BATON ROUGE vA
ARMSTRONG CO INC LOT# 20 OAK RIDGE 966--1686 JAMES MOODY/BRANCHVI AL
GLYN WAITE BUILDING CONTR. GLYN WAITE BUILDING CONTR. 324 HWY 90 WAVELAND MS :
MASCARI'S CONSTRUCTION CO MASCARI'S CONSTRUCTION CO JOB: 2243 LEON C SIMON LEO NEW ORLEANS LA :
CHARLES C. WEEMS, GEN. CONTR. 400 AUSTILL PLACE OFF OLD SHELL MARK FISHER 583-1707 MOBILE AL
LASH HOMES INC JIM 908-5386 / 279-5386 2913 RUE MARCELLE = MERAUX LA
G. A. WEST & CO. G. A, WEST & CO. 12526 CELESTE RD CHUNCHULA AL
TABARY AND ASSOC,, INC TABARY AND ASSOC,, INC 203 SYCAMORE
TOWN CONSTRUCTION CO INC 141 SUNSET BLVD CONTACT ADAM 252-6641 BATON ROUGE LA
FLCRANE & SONS INC WEST BLOCTON HIGH SCHOOL +4734 TRUMAN ALORIDGE PARKWAY WEST BLOCTON AL
DOBSON HOMES INC DENNIS DOBSON 382-4536 CEL OFFICE 985-639-3903 2104 OLIVIA ST. MERAUX LA
GEORGE KANELLIS CONSTRUCTION GEORGE KANELLIS CONSTRUCTIC GLEN LAKES 9357 LAKEVIEW FOLEY AL
K. B, KAUFMANN & CO., INC. K. B. KAUFMANN & CO., INC, | DAVE KAUFMANN 1019 OLD SPANISH TRAI SLIDELL LA
MODS CONSTRUCTION INC. MDS CONSTRUCTION INC. 16303 HAMPSTEAD CT SILVERWOOD SUD,[SQU FAIRHOPE AL
MIRAMON CONSTRUCTION CO INC MIRAMON CONSTRUCTION CO II LOT 35 LA CHINIER . SUDELL LA
PRESTIGE CONSTR & REMODELING 5207 CONSTANCE RONNIE 339-7606 NEW ORLEANS 1A
PROCTOR & SON'S BUILDERS INC 644 SPRINGBANK TERRACE LEGACY OF GREYSTNE BASEMENT INVERNESS AL
SOUTHERN BUILDING STRUCTURES RUE PRESERVE SUB DIV. ON RIGHT PAST KNOLLWOOD HOSP. MOBILE AL
H P H PROPERTIES INC LOTH 110 ROSS BRIDGE HOOVER AL
BRACKLEY CONSTRUCTION INC PRIMARY COLORS BEHIND LAKEVIEW HOSPITAL 966-6670 MANDEVILLE LA
MCLEOD CONSTRUCTION LLC BRANCHWOOD LOT17 STRACHAN HOUSE FAIRHOPE AL
ELLIS CONSTRUCTION INC . 4643 MANDEVILLE ST/GENTILLY RON 924-0979 CELL 2ND #416-5815 NEW ORLEANS LA .
GILL INDUSTRIES LID LAB SCHOOL LSU CAMPUS BATON ROUGE LA a
CHUCK DIXON HOME IMPROVEMENT CHUCK DIXON HOME IMPROVEA INC MOBILE AL :
DAVE JOHNSON CONSTRUCTION DAVE JOHNSON CONSTRUCTION LOT 32 INDIAN CREEK D'IBERVILLE Ms :
TONY POIROUX CONST LLC TONY POIROUX CONST LLC 2231 BIENVILLE BLVD WEST END GULF SIDE DAUPHIN ISLAND AL :
B G CONTRACTORS OF ST. B G CONTRACTORS OF ST. 432 SOUTH VERMONT COVINGTON LA :
TRIM MAN INC TRIM MAN INC WAVE DRIVE "
MICHAEL SCHMITT DBA MICHAEL SCHMITT DBA LAGNIAI FORT BAYOU APTS 3230 CUMBERLAND OCEAN SPRINGS MS
RON VACCARO CONSTRUCTION CO DEL OAKS 82 RIVER BLUFF RON 146*22*41310 MAN DEVILLE LA

_ BRYAN BUSH CONST CO INC GONZALES AIRPORT LOOSE MOORE DR GONZALES LA
GOODEN HOMES LLC GOODEN HOMES LLC 183 HISTORIC MAIN ST LOT #68 LAURA (985) 652-7531 GARYVILLE LA
BOOHAKER & LEDLOW LLP BOOHAKER & LEDLOW LLP 3514 PINERIDGE RD. MT. BROOK AL
ART LAMI HOMES INC ART LAMI HOMES INC LOT 4 LONG PINE 1ST LOT ON RK 1.2 MILES EAST OF 181 ( FAIRHOPE AL
TRUE QUALITY INC TRUE QUALITY INC 4912 PINEHURST DR 238-4803 OCEAN SPRINGS MS
BGS & ASSOCIATES 5516 SCOUT CREEK DR. HOOVER AL
FRANK MASELLI PROPERTIES 6134 PONTATRAIN BLVD FRANK 669-7179 NEW ORLEANS LA
CONERLY CONSTRUCTION INC CONERLY CONSTRUCTION INC 3409/3411 WASHIGTON AVE CHRIS 669 8703 GULFPORT MS :
LANDIS CONST CO LLC 7500 OAK ST JAMIE 504-654-6821 CORNER OF OAK & CHAF NEW ORLEANS LA #
GRISTINA HOMES INC LEWISBERG EST. LOT2 ED , MAN DEVILLE LA i

BATON ROUGE LA i

GEORGE JENNE CUSTOM BLDRS, LLC i

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THE ELLIS COMPANY INC

ARTHUR HOMES

DUKE & DUKE CONSTRUCTION INC
MULTI-MECHANICAL CO INC
LOUISIANA COASTAL MANAGEMENT
RLM CONSTRUCTION INC
BALDWIN COUNTY HOME BUILDERS
HILLARD BUTLER CONST

KF REAL ESTATE LLC

R, BRUCE OLIVIER MANAGEMENT
MCMATH CONSTRUCTION-COMM DIV
HAPPY HOMES INC

JOHN BAGLEY DBA

J R ROBINSON CONSTRUCTION CO
GARY MEADOWS

COLLEY HOMES INC

WARREN CONSTRUCTION CO INC
SLT III LLC SIDNEY L

NEW ORLEANS AREA HABITAT FOR
THOMAS RAY STANLEY JR

KEVIN LANE MILLER

GTIMPHONY LTD

RC{ CONTRACTORS & ENG INC
STRUCTURES OF DIAMONDHEAD
RYANS REMODELING & REPAIRS
RENE BAHAM

BAY SOUTH LTD

R&S CUSTOM HOMES INC

STEVE OWENS CONST INC

DAVID BRADY

BS D CONSTRUCTION

CLASSIQUE RENOVATION CO, LLC

J BUSBY SIGNATURE HOMES INC
BRANTLEY HOMES INC
CANAL/CLAIBORNE LTD

CALVIN REID CONSTRUCTION Cd IN
G NG CONSTRUCTION INC
ROBERT S BOWLING

WHEELERS INC

HAL COLLUMS CONST

ML WALLER

SUMMIT CONTRACTORS INC
DELTA BUILDERS INC

ULTIMATE CONSTRUCTION INC

S AKENNEDY INC .
MOUNT HOME BUILDERS INC

VP OWEN CONSTRUCTION CO INC
METHODICAL BUILDERS INC

JB DESIGN BUILD INC

MACK LEWIS CONTRACTOR INC
PERFORMANCE CONTRACTORS INC
WATTS REAL ESTATE INC
AFFORDABLE HOMES & LAND LLC
WATT CONSTRUCTION INC

CHRIS WHITTY CONSTRUCTION LLC
G & H RESTORATION, LLC

JIMMY R HAWKINS INC DBA

WAP INC

4.C.T, CONSTRUCTION CO., INC
HABITAT FOR HUMANITY

HABITAT FOR HUMANITY GREATER
MICHAEL A EUBANKS CONSTRUCTION
DEVIER CONSTRUCTION LLC

51849 GWEN DARYL 236-4175

LOT 1 PAMELA DR OFF PRUDEN

DANA 512-9270

MULTI-MECHANICAL CO INC 72332 KUSTENMACHER

LOUISIANA COASTAL MANAGEM 7716 DOMINICAN ST.
BEAU CHENE 107 LONGWOOD OR.
BALDWIN COUNTY HOME BUILD HABITAT FOR HUMANITY

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JLARTHUR 966-2880 COVINGTON
3509-11 SINCLAIR CHALMETT
DON CARSON 809-0181 ABITA SPRINGS
KEVIN 382-1384 NEW ORLEANS
ROBERT 966-0017 MANDEVILLE
13473 ROOSTER LN FOLEY

HILLARD BUTLER CONST 11417 SOUTH ANDREW CIRCL HILLIARD 481-1671 NEW ORLEANS
550 PONCHATRAIN MATT 228-671-1575 SLIDELL

ABITA LAKES LOT 53 KINGSLAND DR LARRY 788-6669 ABITA SPRINGS
LE CHENIER LOT 36A SLIDELL

SOELL DRIVE SEE ATTACHED FOR DIRECTIONS AND INSTRUCTIONS ABITA SPRINGS
LOT 44 TIMBERLANE JOHN 869-3200

J R ROBINSON CONSTRUCTION C BULAUH BABTIST BESSMER
GARY MEADOWS WAYNE CLEMENTS 4530897/67¢ 6522 MARSHAL FOCH NEW ORLEANS
COLLEY HOMES OFF HWY 1078 76169 GREEN VALLEY RD MR BILL 966-4047 FOLSOM

VILLA ASHLEY UNIT 6316 AND UNIT 6318 CONTACT: KEN 279-196 BATON ROUGE
WEST CHESTER ESTATES 508 POPLAR DR SID 985-789-2148 SLIDELL

1820 MAZINT-ST MUSICIAN'S VILLAGE PAUL 970-708-1237 / 25 NEW ORLEANS

CULLMAN OFFICE BUILDING NEXT TO WBI TRAILER SALES
CREDIT FOR RETURNED MATERI RE:1176191 JASON FOUNTAIN

1228 LIZARDI GREG/ 296-9192
BROWN APARTMENTS 801 16TH AVE
STRUCTURES OF DIAMONDHEAL 558 HANAUMA PLACE
GENERAL ELECTRICAL

THE SAVANNAH'S LOT 60

MATT WILLIAMS 1610 OAKLEIGH DRIVE

LOT# 3228 HIGHLAND LAKES

CULLMAN
301 CHURCH STREET LONG BEACH
BOB/ 784-1134 NEW ORLEANS
2ND FLOOR TUSCALOOSA
JAY 216-4545 DIAMONDHEAD

RENEE 26571 NEXTEL COVINGTON
SARALAND
INVERNESS

STEVE OWENS CONST INC HARBOURVIEW

2089 KNOLLWOOD PLACE HIGHLAND LAKES BASEMENT PERSONAL H INVERNESS

#6 CARIBBEAN KEY SHELL BEACH SHELL BEACH
CLASSIQUE RENOVATION CO INC 6118 MILNE ST LEE 258-0449 // 866-232 NEW ORLEANS
1468 LEGACY DRIVE LEGACY OF GREYSTONE BASEMENT JOB INVERNESS
LOT# 59 WILO TIMBER BASEMENT FILL IN ALABASTER
RON 915-0649 119-21 16TH ST NEW ORLEANS
LOT# 12 LEGACY PLACE OF GRE\ GREYSTNE LEGACY INVERNESS
GOODBEE COMMERCIAL PARK ROBER
DOLLAR GENERAL / UNIONTOWI HWY 80 WEST- UP HWY 4370 Hi ACROSS FROM CITY HAL UNIONTOWN
LOT# 1805 EAGLE POINT J, E PATE BUILDERS INVERNESS
HAL COLLUMS CONST 1015 PENNISTON

TRAILHEAD WOODROW AND MONTGOMER' MIKE 869-2023 MANDEVILLE
107 NICKEL LOOP LOT #27 A MODEL SLIDELL

DELTA BUILDERS INC 11 MOHAWK MOBILE

DR, BROWN ROGER 985-847-2338 4429 CHASTANT METAIRIE

WAVELAND SHOPPING CENTER 430 HWY 90
MOUNT HOME BUILDERS(NC  TEALWOOD LOTS
VP OWEN CONSTRUCTION CO It GREG OWEN 416-5895 CELL

MALBIS PLANTATION LOT 9 HISTORIC MALBIS
J B DESIGN BUILD INC 1887 BLUE MEAADOW
161 SO JEFFERSON ST

PERFORMANCE CONTRACTORS | P O BOX 82630

COMMITE HILLS WEST 6739 WEST FLINTRIDGE
LOT 8 GITZ OFF BREWSTER RD = BUBBY 146*135499°4
WATT CONSTRUCTION INC 5900 CANSLER DR

LOT 78 NROTHWOOD DR CHRIS 847-9427 \ 960-1484
G & H RESTORATION, LLC JOB: #5 RICHMOND
JIMMY R HAWKINS INC DBA CROWN GAS STATION
PHOENIX WEST CONDO 23972 PERDIDO BEACH BLVD
SCT CONSTRUCTION CO., INC 1408 PAPWORTH

HABITAT FOR HUMANITY 21154 FERN ST

2338 FAITH CTOFFCHOTWA — BY CHIPPEWWAST
MONTEVALLO ROAD HOUSE

DEVIER CONSTRUCTION LLC 621 TARTON

RONNIE 404 391 1845 + WAVELAND

HOUSE ON LEFT

#7 MELODIA COURT NEW ORLEANS

MALBIS

BAY ST LOUIS

MOBILE

BATON ROUGE

CONTACT JESSICA 270-1 BATON ROUGE
MADISONVILLE

MOBILE
MONEYHILL ABITA
OMAR NEW ORLEANS
7764 CRESTWOOD BLVD BIRMINGHAM
ORANGE
JOHN 628.7712 METAIRIE
TOM 936-9716 BATON ROUGE

BIRMINGHAM
VINCENT 626-3184 X 18 COVINGTON

EESESSESSEOSEESESES

Ms

SEES.

MS

DAPHNE UNINCORP AL

LA
AL
MS
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B & W CONTRACTORS
DON-SON CONSTRUCTION CO
TOYE CONSTRUCTION

WILLING WORKERS
LOT 181 PERRILOUX
SEWELL 723-1616

BANNER PROPERTY MANAGEMENT INC 3936 STATE ST DRIVE

FISH CAMP PROPERTIES LLC

GREG CAUSEY CONSTRUCTION
TULANE TOWER (2601LLC)
CONSTRUCTION GROUP, LLC

NO BAPTIST THEO. SEMINARY C/O
JOFFRION CONSTRUCTION INC

MD STEWART CONTRACTOR INC
PATRICK FRANCIS ASHLEY

PREMIER CUSTOM HOMES INC
DESIGN MARK BUILDERS LLC
LANIER CONSTRUCTION INC
PRESTIGE DEV INC

KENT CONSTRUCTION INC
HOLLOWAY HOMES

SOUTHWEST BUILDERS LLC
BLANCHARD CONSTRUCTION

FIRST CONSTRUCTION CORP

DAVID W STEWART INC

DUPREE CONSTRUCTION CO INC
FRANKIE MASSEY, INC. DBA

R, J. PASQUA CONSTRUCTION CO.
COSSE'S CUSTOM CREATIONS

M GN CONSTRUCTION INC
AYSENNE CONTRACTING
MASTERWORKS CONST CO INC
STERLING COMPANIES LLC

HOME ONE HOMES INC

£ BYRD AND ASSOCIATES INC
CONCEPT DEVELOPMENT CO INC
NSH CORPORATION DBA SIGNATURE
MILTON J. WOMACK, INC,

DE CAMPBELL CONSTRUCTION INC
DRYWALL CONTRACTORS (A DIV OF
DAVID K DARENSBOURG LLC
WINCHESTER BUILDERS LLC

D MM CONST LLC

FACILITY SYSTEMS, A DIVISION
LARRY WHITE CONSTRUCTION INC
BRIAN LLADNIER

A GIAMBELLUCA CONST INC
KONSTANDINA D BAZOR
AADVANCED CONTRACTING SVC. INC
ELCRETIN LLC

JIMMIE PARKER CUSTOM HOMES INC
CRAFTMASTER LLC

B &) HOMEBUILDERS INC
LAKELAND ROOFING & CONST INC
IN-LINE DESIGN LLC

PERFECT WORK CONTRACTORS
NEWCASTLE CONSTRUCTION INC
SOUTHCOAST CONSTRUCTION CORP
EDDIE RAMEY ENTERPRISE

SAVOIE CONSTRUCTION INC
RANDY MILITELLO CONST INC
BASCO CONTRACTING LLC

GIBSON & ANDERSON CONSTN., INC
THE JT6 GROUP LLC

NANZ ENTERPRISES

MURPHY BATEMAN BUILDING

10364 FOX LANE

GREG. CAUSEY CONSTRUCTION

TULANE TOWER (2601LLC)
1005 BARRACKS

BTS HOUSES

LOT 18

2150 CYPRESS COVE

LANG JOB

LES BOIS

LOT# 206 FOREST RIDGE
STARBUCKS MIDTOWN
PRESTIGE DEV INC

19354 NORTH 12TH ST.
LOT 212 BEDICO CREEK
81309 LEE ROAD
BLANCHARD CONSTRUCTION
HOLIDAY DR.

LOT 18 LOT CABIN LANE
LOT 605

2707 WASHINGTON

JASON

MONTGOMERY 861-7088 FAX
ROY 782-7690

PO BOX 232

2735 TULANE AVE

BOB 949-4994

4602 SEMINART PL
HIGHLAND GREENS

LOT CH

612 HERNANDO PLACE
LOT 19 RUE MON JORDAN
BASEMENT

19065 QUAIL CREEK DRIVE

TONY 225-413-6015
JODY 893-0235

612 35TH ST

LOT 65

MAGNOLIA FOREST
SANTA MARIA

ROCKY CREEK BUILDERS SUPPLY 223 CARL HAVARD ROAD

150 GOLDEN MEADOW LANE
20089 CHANDLER DR

LOT 2432

UNIT 1 AND 2 HARKEY DRIVE
501 MARIGNY DR.

LOT# 2718 HIGHLAND LAKES
ABITA LAKES

E BYRD AND ASSOCIATES INC
LOT# 23 MELROSE PLACE
BAYWOOD QUARTERS LOT 6
HABITAT FOR HUMANITY
12625 BOONE LANE

MALL OF LOUISIANA

UNIVERSITY CLUB SUBDIVISION

WINCHESTER BUILDERS LLC
DM M CONST LLC
HANCOCK BANK ANEX

RAY 809-1619
COLLEEN KITCHEN
SCOUT CREEK

SEE DIRECTIONS
TIM 966-0644

LOT 102
EMPLOYEE RESIDENCE

LOT 4iA

DILLARDS STORE

2915 TRADITION STREET
JUSTIN 782-9832

2156 THIRD ST SUITE B
525 FLORIDA ST

LARRY WHITE CONSTRUCTION Ih 23297 SCENIC 98 (JUST PAST

BRIAN L LADNIER
323 SCOTCH PINES
TIMBER CREEK JOB
425 W. HARRISON
37050 ALBIN RD

WASHINGTON ST
LEFT ON BIGNER

PAID IN FULL WITH C/C
EDGAR 504-415-7957

LOT# 18 CHELSEA RIDGE ESTATES

CRAFTMASTER LLC
B & J HOMEBUILDERS INC

ARBORWALK LOT 16
JOB: 1800 MICHELLE DR

LAKELAND ROOFING & CONST IhJOB: BUILDING 285

SUMMERWOOD
FERNANDO 450-7557 CELL
LOT# 404 LAKE CYRUS

LOT 31
JORGE MEZA 416-7348 CELL
5747 PARK SIDE ROAD

SOUTHCOAST CONSTRUCTION C 130 FAIRWAY 216-7363

EDDIE RAMEY ENTERPRISE
227 PARTRIDGE ,
18884 BIENVILLE COURT
TACO BELL

49 JUB HICKMAN ROAD
ROSS PICK UP

CONTACT RANDY 268-0848
11423 HWY 49

GIBSON & ANDERSON CONSTRU LOT 14 CHARLSTON SQUARE

THE JTB GROUP LIC.
GRANDE MAISON

50 ST. EMANUEL ST.
LOT 66

MURPHY BATEMAN BUILDING 1107 WASHINGTON ST

362-6720 SHANNON

NEW ORLEANS LA
MADISONVILLE LA
3019 JOSEPH ST NEWORLEANS IA
NEW ORLEANS LA
ELBERTA AL
MOBILE AL
ATTN: PHILIPSTEIN NEWORLEANS LA
NEW ORLEANS LA
WAYNE 985-871-7979 NEWORLEANS = LA
BATON ROUGE lA
ZACHARY 1A
DAUPHINISLAND AL
JONATHAN 985-264-289 MADISONVILLE LA
CALERA/ALABASTEF AL
MOBILE AL
LOT 230 FAIRHOPE AL
COVINGTON LA
BEDICO LA
2 MILES NORTH OF LEEJ COVINGTON LA
GULFPORT MS
BEHND RACETRACK COVINGTON lA
DAVE 960-1250 SLIDELL LA
19322 EAGLE RIDGE COLBATON ROUGE = LA
LUCEDALE _ MS
MIKE 601-341-3354 COVINGTON tA
504-578-7886 COVINGTON LA
HOOVER AL
THIBODEAUX LA
MANDEVILLE LA
INVERNESS AL
JOHN 504-915-6702 ABITASPRINGS = LA
EMORY 846-3544 METAIRIE LA
HOOVER AL
BATONROUGE A
9370 POSTAGOULA DR BATONROUGE = LA
FAIRHOPE AL
CONTACT: CURTIS 501-5 BATON ROUGE = LA
LOT 235 BATONROUGE LA
2619 SO CARROLLTON NEWORLEANS = LA
MANDEVILLE LA
MIKE PH#505-8357 DENHAMSPRINGS LA
SIBLEY SUDV) FAIRHOPE AL
BAY ST. LOUIS MS
TONY 146*22*23011 | MANDEVILLE LA
LOT 6 PHASE 7 PINE RU! DAPHNE AL
NEW ORLEANS LA
INDEPENDENCE LA
CHELSEA AL
MADISONVILLE LA
LANNY CELL# 666-0658 POYDRAS LA
CHRIS CAMPBELL/ 329-0 BELLE CHASSE LA
ON MAIN ROAD ON LEFIBATON ROUGE = LA
4500 SHORE DRIVE KENNER LA
HOOVER AL
TIMBER RIDGE PASS CHRISTIAN MS
601-307-8646 CALL  WIGGINS MS
MANCHAC PLANTATION PRARIEVILLE iA
GULFPORT MS
BIRMINGHAM AL
2ND FLOOR MOBILE AL
RED 966-0063 MANDEVILLE LA
MEET KEN 985-335-444$ FRANKLINTON LA

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CHARLES C’BERRY CO

TOLBERTS CONSTRUCTION

JJ K & A HOLDING CORPORATION
LICHTL HOMES

LOWRY DEVELOPMENTS LLC
SCHNEIDER CONSTRUCTION &
SMITH BLDG CONSULTANTS LLC
CONSOLIDATED BUILDERS

ELITE HOMES INC

VINTAGE HOMES LLC

DAYA BUILDERS INC

JIM MEYER CONSTRUCTION CO
BRIAN TUDELA

WILLIAMS & SONS LLC

COASTAL SUBCONTRACTORS LLC
B HF CONST CONSULTANTS LLC
GAILLARD BUILDERS INC
DAELEN OF TANGIPAHOA LLC

H DH GENERAL CONTRACTORS, INC
PERP LLC

KVSINC

BIG BEAR CONSTRUCTION CO INC
BELFOR USA GROUP INC
MARQUETTE HOMES

RUMAKER CUSTOM HOMES INC

REX WATWOOD DBA WATWOOD CONS 113 CRESTVIEW DRIVE

ARNETT HOMEBUILDERS & DEV INC
BURMASTER CONSTRUCTION INC

K C E CONSTRUCTION

BURGA HOMES INC

AUDUBON GENERAL CONTRACTORS IN
JACK FLEMING

FOS-N-CO INC

RETZ PLACE PROPERTIES

THE CONSTRUCTION GROUP INC
PEPERONE CONSTRUCTION LLC

LEO A DUVERNAY LLC

C & CHOME BUILDERS CONST INC
U ATC & ASSOCIATES INC
FREDERICK ALDRIDGE 0/B/A

PEVEY CONSTRUCTION LLC
SPRINGHILL LLC

TALLOW CREEK LLC

OSBORNE CONSTRUCTION
PORTICO CONSTRUCTION INC
FAIRWAY DEVELOP MINT CORP
GREGORY JOHN MARTRAIN

F & M BADON CONSTRUCTION INC
JD W CONSTRUCTION INC

RTS CONSTRUCTION

HATCH CONSTRUCTION SERVICE LLC
QAK TREE HOMES INC

DAVID HOMEBUILDERS INC
HUTCHISON HOMES INC.

INFINITY MARINE OFFSHORE, INC.
STEGEMAN BUILDERS

RIECKE DEVELOPMENT & CONST CO
DAN ARMSTRONG CONSTRUCTION
VELEZ CONSTRUCTION CO INC
CAROLINA HOMES INC.

HARRIS CONSTRUCTION &

NICE HOMES INC

GULF STATES PROPERTIES INC

1100 FAGAN DR. CHARLES 225-933-3396

TOLBERTS CONSTRUCTION

3). K & A HOLDING CORPORATIOI 1050 FRONT ST
LUICHTE HOMES 17071 OCTAVIA ST
LOWRY DEVELOPMENTS LLC TUSCAN VILLIAS
LARRY 416-3534 RESTORATION INC
SKIPPS PLEASURE PALACE _HARBOR POINT DR
JOB LANE MEMORIAL HOSPITAL

ELITE HOMES INC LOT 80 TIMBERLINE
LOT #10 CREEKSIDE

DAYA BUILDERS INC
JIM MEYER CONSTRUCTION CO 19394 CAYMAN DR

TAMMANY HILLS LOT 13
PETERS LANDING
PAUL LUMPKIN 4028 BARRACUDA DR

BHF CONST CONSULTANTS LLC 712 JILLIAN PL
MCCRORY HOUSE 705 OAK BLUFF DRIVE

DAELEN OF TANGIPAHOA LLC

LENNYS HWY 98

LOT 46 MCGEE ST. OFF HWY 1077
KVSINC VILLA VIENZA

FOX BRANCH LOT 76

MERE HOFF KEITH 504-799-8368

LAKE FORREST UNIT 8 LOT 167

44137 FORBES FARM DR LOT 48

OFF HWY 51
HWY 90
1616 HICKORY

105 HOPE

BRIAN 504-390-3461

SARA 433-9315
345 4117

SCOTT 966-0189

JARRET 966-4309

928 N. CARROLTON AVE DAVID 400-4449 NEW ORLEANS
LOT# 3204 HIGHLAND LAKES INVERNESS
MONTEVALLO ROAD/ EUCLID BIRMINGHAM
LOT 9 BUTLER DRIVE BLAKELEY FOREST SUB SPANISH FORT
POST OAK LOT? MADISONVILLE
LOT 10 JOHN ST KEN 960-1687 LACOMBE
BURGA HOMES INC LOT 15 TCHEFUNTE ESTATE MANDISONVILLE
HABITAT FOR HUMANITY HIDDEN COVE LOT 73 CHARLES 413-2729 BATON ROUGE
JACK FLEMING(296-9917) 422 ATHERTON DR DELIVER THE WEEK OF 3 METAIRIE
FOS-N-CO INC IRENE 432-7318 CELL 3817 CAMPAGNA DR. CHALMETTE
RETZ PLACE PROPERTIES 2822-2824 CONTI ROBERT RETZ 504-237-4 NEW ORELANS
1005 BARRACKS APARTMENT BLDG 239,4345 BLAINE NEW ORLEANS
PEPERONE CONSTRUCTION LEC JOE 388-0125 CELL 4529 CHASTANT ST METAIRIE
5301 CANAL BLVD LEO/ 628-3563/ NEAR WAIBLEN NEW ORLEANS
TIMBERLANE LOT 61 MADISONVILLE
WILLIAM 723-1610 4720 OWENS 244-2604 NEW ORLEANS
RANDY TAYLOR LOT F PETERS BEND RD. RANDY 789-6014 BOGALUSA
PEVEY CONSTRUCTION LLC 303 AVALON DR DAVID 985 9668600 PONCHATOULA
SPRINGHILL LLC LOT GA, 1121 CLAIRISE CT AUSTIN SLIDELL
TALLOW CREEK LLC LOT 118, 388 TALLOW CREEK BL LAUREL CHRIS 960-0 COVINGTON
OSBORNE CONSTRUCTION JOB: 716 FOURTH STREET TiM/ 460-1087 NEW ORLEANS
1003 SPAIN ST BRANDY NEW ORLEANS

FAIRWAY DEVELOPMNT CORP TED ADAMS 495-9535 CELL

10699 AIRLINE HWY SUITE C NEWS ON WHEELS
SHOP/ELAT BED JOB, NO BOOM 1010S POLK ST

JD W CONSTRUCTION INC 6395 COUNTY RD 51
WOODHAVEN LAKE HOUSE LAKESIDE DRIVE
HATCH CONSTRUCTION SERVICE ARCENEAUX

THE SVANNAH'S LOT 103
LOT# 373 LIBERTY PARK 4500 GAYLON WAY
HUTCHISON HOMES INC. LOT 28 FALLS CREEK

INFINITY MARINE OFFSHORE, INt P 0 BOX 96147
MERRYWOOD ESTATES LOT G6 NORMANDY DR
72375 MILITARY RD.(N. HWY 21) BRYANT 146*22*3380
DAN ARMSTRONG CONSTRUCTH CARNUSTIE CT

5427 PARIS AVE. LOUIS 669-3888
AUGUSTA SUBDIVISION LOT 8 OFF DAWES RD.
QLD BP ON 59

24575 PECAN POINT DR SEE DIRECTIONS
GULF STATES PROPERTIES INC OCEAN CLUB

34 BEVERLY GARDEN DR METAIRIE
CRAIG 937-4157 CALL B- BATON ROUGE

BRANDYN
678-6708
JAMES # 369-2854

MALLARD GLEN DR.

STEGEMAN 796-9247

LOT 16

HWY 90 BILOX!

COVINGTON
WILSONVILLE
PINSON

COVINGTON
LIBERTY PARK
FAIRHOPE
HOUSTON
FOLSOM
COVINGTON
FOLEY

NEW ORLEANS
MOBILE(UNIC}
GULF SHORES
PLAQUEMINE
BILOXI

HAMMOND LA
280 AL
SUDELL LA
HAMMOND 1A
LONG BEACH MS
HARAHAN 1A
GULFPORT MS
BATON ROUGE LA
COVINGTON LA
HOOVER AL
DAPHNE AL
HAMMOND tA
COVINGTON LA
BOGALUSA LA
+ BAY ST LOUIS MS
BAY MINETTE AL
DAPHNE AL
HAMMOND LA
DAPHNE AL
COVINGTON LA
OCEAN SPRINGS MS
MADISONVILLE 1A

BESSSSSSESSSSSSSSESSSSSSEFRES

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U/C UNIVERSAL CONSTRUCTION INC
JW DRENNAN LLC

DMH DEVELOPMENT CO

PELICAN BUILDERS INC

VIP CONTRACTING INC

COOLEY CONSTRUCTION CO INC
DAVIS BANKSTON CONSTRUCTION LL
CHARTIER GENERAL CONTRACTOR LL
HURLEY HOMES LLC

G W OLIVER CONSTRUCTION
DAVID E. SMITH DBA
COUNTRYVIEW HOMES LLC
ACADIAN BUILDERS LLC
COCKERHAM CONSTRUCTION LLC
CAL DEVELOPMENT LLC
WHITFIELD HOMES

F BJ CONTRACTOR, INC,

JOHN G FINCH CONSTRUCTION
ZIMMERMANN CONSTRUCTION LLC
MICHAEL GUIDRY

WILLIAMS & BROWN CONST. LLC
ROCKWELL CONSTRUCTION LLC

S MB CONSTRUCTION LLC

A & R WALLBOARD CONTR. INC
CASTLEROCK COMMUNITIES LP
PADDISON BUILDERS, INC.

LA RENAISSANCE LLC

RICHLYN CONSTRUCTION INC
PAILLOT CONST CO

PELICAN PROPERTIES OF
BUILDING BY PAUL GALLANT
JACKS INC JACKS HOME

KEITH WEBRE CONSTRUCTION LLC
PANNO CONSTRUCTION
MONARCH HOMES LLC

GREAT SOUTHERN BUILDERS LLC
ROACH BUILDERS INC
GREMILLION HOMES INC
PROBUILD SOUTH, LLC

WILLOW INCORPORATED
LEGENDRE CONSTRUCTION LLC
SUMMIT HOMES LLC

COLE BUILDERS

SAIA HOMES

WADE YBARZABAL

LD BOWLES CONST LLC

NATALS HISTORIC DEV COMP LLC
GARREN MIMS

FOUR SEASONS DEVELOPMENT CO IN
MCCOMBS SERVICES LLC
DEVELOPMENT PROPERTIES LLC
SIZELER REAL ESTATE MGMT CO
SCOTT DESIGNER HOMES INC
WORK HORSE CONSTRUCTION LLC
PLAISANCE BUILDERS INC
STONECREST HOME BUILDERS LLC
L& L RETAIL CONSTRUCTION LLC
NEW HAVEN HOMES LLC

B & R CONSTRUCTION LLC
JEMM-TWO LLC

CRAGMAR CONSTRUCTION LLC
CALMAR CONSTRUCTION

ALPHA OMEGA CONSTRUCTION INC

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CHARLES 713-292-8154

WESTFIELD VILLAGE/SUPREME 15223 MANORFIELD KATY

BANKS DOUG

DMH DEVELOPMENT CO LOT 29 ORCHARD PARK LONG BEACH
PELICAN BUILDERS INC LOT 19 TEALWOOD DAPHNE

VEP CONTRACTING INC 33851 SPINNAKER LN : LILLIAN
GIBBON 44664 HAMPTON RD DIRT RD RIGHT HAND SII MOBILE

9851 ROYAL ST. CONTACT: DAVIS 806-23 ST FRANCISVILLE
3005 TOLMAS STOCK ON 2ND. FLOOR ON TUES 16-May METAIRIE

DEL OAKS 40 AUDUBON DR. BOBBY 966-5280 MADISONVILLE
LOT 273 SANTA MARIA SEE DIRECTIONS CONTACT: GUY 954-080: BATON ROUGE
RUELAS DRYWALL - 12303 KIMBERLY ESTEBAN , HOUSTON

LOT 187 FORBES FARM JIM 985-264-0592 HAMMOND

13 ARBOR WALK SUSAN 985-789-5239 MADISONVILLE
LOT 50 SUGAR MILL 3830 POPLAR GROVE ADDIS

CAL DEVELOPMENT LLC LOT 4 PARKVIEW SWITZER AVE GULFPORT
CASTINE POINT 661 CASTINE POINT RYAN 504-508-5925 MANDEVILLE
FREDRICK BADON JR. 221 SOUTH AMERICA ST. FRED 630 -S072 COVINGTON
LOT 11 JOSEPHINE/ BEHIND THE OAKS /PEARL RIVER HIGH SC BRANDYN 985-705-3687 PEARL RIVER
52191 HWY 40 ALLISON 264-6282 LORANGER
THE RIGOLETS 112 HERRING ST. MIKE 290-2330 SLIDELL
WILLIAMS & BROWN CONST, LLC ROBERT ROBEAR HWY 21 BUSH
WOODSTONE LOT 31 MANDEVILLE
GOTTCHALK LOT 86 COVINGTON
GC-TIM CROFT 44889 MACEDONIA RD CYNTHIA 713-452-5229 HOCKLEY
25419 HAMDEN VALLEY DR WESTHEIMER LAKES RICHMOND
922 URSULINE ST. RAYMOND 504-234-2777 NEW ORLEANS
LA RENAISSANCE LLC GRIFFITH JOB SHAWNEE STREET KILN
NORMANDY OAKS LOT 162 COVINGTON
JOE 416-2964/254-0297 2300 DESPAUX DRIVE CHALMETTE
40187 HOWARD OFF FREMEUX SUDELL
BUILDING BY PAULGALLANT = PAUL 985-966-1150 CELL 6047 PATTON ST. NEW ORLEANS
CREDIT FOR RETURNED MATERW RE:1276759 COVENANT BAPTIST HWY 64 LUCEDALE
KEITH WEBRE CONSTRUCTION LI MAGNOLIA WOODS 8265 BANTURA CT BATON ROUGE
MARINA BEAU CHENE LOT 194 MARINA DR. JOE 966-4502 MANDEVILLE
MONARCH HOMES LLC RAY HARNEY 494-6230 CELL 211 GOURGUES ST HAHNVILLE
LAKE RAMSEY LOT 83 RIVERLAKE RD COVINGTON
ROACH BUILDERS INC LOT43 FAIRHOPE
GUSTE ISLAND LOT 151 JOHN 502-8020 MADISONVILLE
LOT# 42 TAYLORS COVE : . MOODY
WILLOW INCORPORATED LARRY 382-1470 3200 RUE PARK FONTAI! ALGIERS
PROVIDENCE LOT 21 OFF HIGHLAND @ SIEGEN CONTACT: RONNIE 445-: BATON ROUGE
SOUTHDOWN GARDEN LOT6 3946 BRADMORE CONTACT CONNIE 924-3 BATON ROUGE
COLE BUILDERS GULF COAST METAL HWY 49 SAUCIER
SOUTHDOWN LOT 23 MADISONVILLE
CHAPMAN 4918 BANCROFT WADE 577-1843 / (985) NEW ORLEANS
LOT# 42 STERLING GATE LENTON #27158 BASEMENT ALABASTER
317 14TH NEW ORLEANS
5314 FLORIDA AVENUE GARREN/ 319-2166 NEAR ANDRY NEW ORLEANS
41050 WEST LITTLE YORK BUILDING E HOUSTON
LOTH 16 JAMESTOWN 256-709-3306 CRANEHILL
ASHVILLE HOUSE ASHVILLE

625 & 627 LAURICELLA FRANK CELL#415-1533 R 833-6362 JEFFERSON
TIMBERLANE LOT 38 892-1208 SCOTT MADISONVILLE
ABITA LAKES LOT 92 BILL ABITA SPRINGS
PLAISANCE BUILDERS INC 1648 NOTTINGHAM MARIA 228-3557 MARRERO
4572 DEER CREEK TRAIL BESSEMER

L& L RETAIL CONSTRUCTION LLC BATON ROUGE
LOT# 2011 HIGHLAND LAKES INVERNESS

B & R CONSTRUCTION LLC 2318 RUE MAISON MAINTENANCE BILOXI

DQ

CRAGMAR CONSTRUCTION LLC JOB: 4911 LAKE VISTA BRYAN METAIRIE
LAKESIDE VILLAGE UNIT 24 MITCH 504-416-4985 MANDEVILLE
3432 WATER OAK DRIVE BASEMENT JOB NEXTEL # 161 VESTAVIA

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FRONT PORCH PROPERTIES LLC FRONT PORCH PROPERTIES LLC 115 SHALADIAN PLACE HAMMOND LA
SIEGEN 7 DEVELOPMENTS LLC LOT 89 - THE WATERFRONT DIVERSION CANAL CONTACT: TOM 936-333 FRENCH SETTLEME? LA
ACADIAN BUILDERS & CONTR LLC LOT 593 ROYAL PALM PELICAN POINT LAST HOUSE ON THE LEF GONZALES LA
SUNSET BAY VILLAS LLC / SUNSET BAY VILLAS LLC / INTREPID VENTURES INC PO BOX 912 DAPHNE AL
SOUTHERN HERITAGE BUILDERS (NC = SOUTHERN HERITAGE BUILDERS 17062 EQUESTRIAN LN FAIRHOPE AL
LIVAUDAIS ELECTRICAL & CONST. LIVAUDAIS CONSTRUCTION KELLY TUCKER 915-5017 CELL 2232 LANDRY COURT MERAUX LA
V BELDON & SONS INC 707 FORD RD 832-347-2148 DAYTON TX
LL&T PROPERTIES LTD SKYLINE PLAZA SHOPPING CENTER MOBILE AL
RANDY DELCHAMPS REAL ESTATE COTTAGE HILL PLAZA 3963 COTTAGE HILL RD MOBILE AL
SUKAR CONSTRUCTION CO INC LOT# 4836 SOUTHLAKE PELHAM/RIVERCHA AL
SIGNATURE HOMES INC SIGNATURE HOMES INC ACADIAN OAKS KOEPPEN RESIDENCE MANDEVILLE LA
AXCESS CONSTRUCTION MANAGEMENT J A MISTICH INC 304 SCOTCH PINE JASON 985-966-2375 MANDEVILLE LA
M BM CONSTRUCTION LLC LAKE VISTA SUBDIVISION RENE 915-2650 CELL 501 TOURQUISE ST. NEW ORLEANS LA
TRIANON REAL ESTATE LLC TRIANON REAL ESTATE LLC 2837-39 AUDUBON MICHAEL 905-2587 NEW ORLEANS LA
MARK FROST 136 CAWTHORN MARK 966-1360 SLIDELL LA
DAVID STAPLETON BUILDERS INC = - = DAVID STAPLETON BUILDERS INC D'OLIVE LOT 2 PHASE 8 DAPHNE AL
RM CCONST & RESTORATION LLC 41814 MARKET PLACE AVE CONTACT DALE 953-1549 BATON ROUGE tA
CHAPPELL DEVELOPMENT INC LOT# 8 HIGHLAND LAKES BASEMENT INVERNESS . AL
FAUCHEUX & HENSARLING LLC LOT 44 WOODSTONE BETH 674-8588 MARK SMITH DR. MANDEVILLE LA
AMATA RESTORATION INC AMATA RESTORATION INC 4611 HOLLOW LANE JENNY 989-9243 HELENA AL
JAMES ROBERT COMBS JAMES ROBERT COMBS QUEZZNOES TRUSSVILLE AL
L2 CONSTRUCTION, LLC LARRY (CELL# 416-2633) 4905 JAMES GUS (985)7688534 METAIRIE LA
GREAT AMERICAN HOMES MILDRED SMALLWOOD 147 WEST 4TH AVE LARRY:888-250-5773 GULF SHORES AL
T & T GREEN CONSTRUCTION INC 3& J GREEN CONSTRUCTION INC LOT # 204 CROWNPOINT GARDENDALE AL
EDDLEMAN PROPERTIES INC LOT# 2947 HIGHLAND LAKES 29TH SECTOR INVERNESS AL
ELEGANT HOME BUILDERS INC 7TH ST. MARK PICK UP

ALEXANDRIA HOMES LLC AUSTIN BROOK . DAPHNE AL
H & HCUSTOM HOMEBUILDERS LLC ~=— FORBES FARM LOT 169 KELLI 792-0661 HAMMOND LA
GODWIN QUALITY HOMES LLC GODWIN QUALITY HOMES LLC =LACOMBE HARBOUR 59344

E & S CONSTRUCTION LLC 915 6TH ST. WILSON 504-250-6346 . NEW ORLEANS tA
LEVET HOMES LLC LEVET HOMES LLC 2528 NORTH NOBLIE PAULINA LA
COBALT CONSTRUCTION INC 30437 LIVEOAK LN OFF THOMPSON RD BILLY 985-960-1737 SLIDELL LA
LEWIS WALKER CONST CO INC 3813 POINT REF INV# 799565 THEODORE AL
STERLING BUILDERS LLC STERLING BUILDERS LLC 714 NANCY ST OFF SAULT MANDEVILLE tA
SIENNA BUILDERS LLC THE PREFERED OFFICE CREDIT BUILDING 4415 NORTH BLVD BATON ROUGE LA
K P M CONSTRUCTION LLC GUSTE ISLAND BROWN THRASHER LOOP LOT 192 MADISONVILLE LA
JERRY GLIDEWELL JERRY GLIDEWELL 1-601-799-6696 CALLJERRY HE WILL TAK BAY ST.LOUIS MS
«SH CONSTRUCTION LLC LOT; 24 FRONT HILL BESSEMER AL
B & B CONTRACTING INC BEDICO MEADOWS LOT 81 TERRY 146*139817*1 BEDICO LA
HOWELL CARTER'S PRESTIGE HOMES HOWELL CARTER'S PRESTIGE HO LOT 8A 2ND ST.OFF HOFFMAN R MR CARTER 626-1553 MANDEVILLE LA
CENTURION HOMES LOT 13 BODE AVE OFF HELENBURG TO 3RD TURN € BODE/ TOMMY 504-57 COVINGTON LA
LIUZZA'S QUALITY HOMES INC VERSAILLIES LOT 194 COVINGTON LA
SKYLINE ENTERPRISES LLC 1006 N, ROCHEBLAVE TAY 985-285-3365 NEW ORLEANS LA
RW LEVEE COMPANY INC THE VILLAGE LOT 134 SAVANNAH ST. COVINGTON tA
GREGCO CONSTRUCTION Co LLC 1787 FIVE ACRE RD 965-2636 , BIRMINGHAM AL
CORNERSTONE PARTNERS LLC BUILDING 111 AND 112 CORNER GIBSON AND FLORIDA KEN 966-5970 COVINGTON {A
GARY & MARY ANN WILLIAMS LOT 20 CROSS CREEK GARY 960-2528

RAND J CONSTRUCTION, LLC WINDERMERE LOT 29 MRJUNOT 966-4914 MADISONVILLE LA
MCCORMICK PROPERTIES LLC 5022 PAUGER/OFF MIRABEAU BTWN ELYSIAN FIELDS & ST. AN1 717.0342 CHRIS VIGNAU NEW ORLEANS LA
CARLTON CHARLES 2325/2327 A.P, TUREAU CARLTON 650-6918 581-3963 ANSWERING S NEW ORLEANS LA
ALVIN GEORGE ROYES JR LLC ALVIN GEORGE ROYES JIRLLC = LOT 52 KELLIWOOD DR. {NOT BEDICO TRACE } MADISONVILLE LA
EJ MILLIGAN CONSTRUCTION EJ MILLIGAN CONSTRUCTION = 121 WINDWARD PASS EDEN ISLE SLIDELL LA
SIGUR HOMES INC SIGUR HOMES INC 206 MEGAN COURT SLIDELL A
COMPREHENSIVE GEN CONTR INC CIRCLE K 4940 GROOM RD. BATON ROUGE LA
RANDALL MARANTO CONSTRUCTION 43209 TUPPELO OFF PERKINS RANDY 978-7482 BATON ROUGE LA
JSJ CONTRACTING INC DBA #307 WAVELAND CHEVRON 4955 HWY 190 JIMMY 1-256-338-9705 BAY ST LOUIS MS
TIM HENRY CONTRACTING INC J/P SURF AND YACHT CLUB 1832 W. BEACH BLVD. GULF SHORES AL
LAKESHORE ENVIRONMENTAL CONTR LAKESHORE ENVIRONMENTAL CtL BIRMINGHAM AL
W C CONSTRUCTION SERVICES INC WC CONSTRUCTION SERVICES II 517 PARK ROAD MOBILE AL
CUSTOM CRAFT HOMES INC GRAND CHAMPION “LOT 56 LYLE 960-1858 SLIDELL LA
DTC ENTERPRISES LLC LOTH 43 B STONEGATE FARMS CNTY ROAD 41 INVERNESS AL
INMAN CONSTRUCTION SERVICES IN INMAN CONSTRUCTION SERVICE 5001 ALEXANDER LANE KENNY 831-2606 415-06 METAIRIE LA

HOLMAN BUILDING COMPANY LLC LOT# 6 HAMILTON PARC MARY VAN LANE CLAY/CHAULKVILLE AL

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CHUCK NEXTEL SUDELL

SOUTHERN EQUITY CONTR LLC 1410 CONSTITUTION LA

J CON CONSTRUCTION INC PRESS BURG NEW ORLEANS LA

CALIBER PROPERTIES LLC CALIBER PROPERTIES LLC LOT 55 WATERSIDE OFF E. TAYLOR GULFPORT MS
EROWNMARK HOMES LLP LOT# 2124 SCOUT CREEK TIM #1615 HOOVER AL

LAKESHORE CONSTRUCTION LOT# 41 COURTYARD MANNOR ALABASTER AL

BURNETT CONSTRUCTION LOT# 46 DEER RIDGE MAIN LEVEL-~SPLIT LEVEL ALABASTER/CHELSE AL

LONGCRIER BUILDERS LONGCRIER BUILDERS 406 HILLTOP DR. GULF SHORES AL

B MI CONSTRUCTION LLC GUSTE ISLAND LOT 193 BROWN THRASHER LOC BRIAN 966-3636 MADISONVILLE LA

OMEGA ENTERPRISES 1512 MONROE STREET CHRIS SPARKS/ 232-8414 NEAR CARROLLTON AVE NEW ORLEANS LA

PARAMOUNT INSURANCE REPAIR PARAMOUNT INSURANCE REPAI KMM1006 BIBLE BAPTIST DEADEAUX RD GULFPORT MS
THE LUNCEFORD GROUP LLC 3612 OLD LEEDS ROAD DENTON # 154*138498*4 BIRNINGHAM AL

K HS & S CONTRACTORS KHS&S CONTRACTORS DEBRA TUCKER RENOVATION — HAYSE ST BILOXt ™X

FAITH BUILT HOMES LLC FAITH BUILT HOMES LLC THIBIDEAUX

TAYLOR BURTON COMPANY INC LOT 4 TYLERS CREST TYLERS DEVELOPMENT CO VESTAVIA HILLS AL

SOOJIAN STRAUSSER CONST CO LLC NEW ORLEANS SALES NEW ORLEANS LA

MEDLIN HOME BUILDERS LLC AUSTIN PARK ‘LOT 43 CO. RD, 54 DAPHNE AL

MIKE SLAYTON MIKE SLAYTER "2608 N ATLANTA METAIRIE LA

FOSTER COATINGS & CONSTRUCTION DELTAS DORMS MOBILE AL

THE CUMBERLAND INVESTMENT ROSA STREET

ROGER SANDERS LOT# 29 INDIAN HILLS ROGER 256-339-3305 CRANE HILL AL

KEITH LAMB CUSTOM HOMES BRENDA CARPENTER 4711 SEMINOLE ST BRENDA 228-218-1049 PASCAGOULA AL

ZACHARY HOMES LLC POINT SOUTH LOT # 140 RANDY 936-3414 ZACHARY tA

MIKE KRUSA CONTRACTORS INC LOT #24 CARNOUSTIE DRIVE GLEN LAKES FOLEY AL

GUNN CONSTRUCTION & DEV INC GUNN CONSTRUCTION & DEV IN WOLF SON 102 POPULAR POINT GULFPORT MS
MAYCO CONSTRUCTION LLC VERSALLIES LOT 274 CARLTON 966-1088 COVINGTON LA

LOGAN CONSTRUCTION LOGAN CONSTRUCTION JAY SCHROEDER 3500 PARK BLVD GULFPORT MS
RIVERLAKE PROPERTIES RIVERLAKE PROPERTIES 3601 DANTE ST. TYRONE 504-701-4145 NEW ORLEANS LA

CONSTRUCTION MANAGEMENT INC = HANCOCK BANK ANEX 529 FLORIDA ST CONTACT: MIKE 644-19: DENHAM SPRINGS LA

P CCHOME BUILDERS INC ASCENSION TRACE 5138 SENECA DR LOT 212 DARROW LA

THE PRECISION CONSTRUCTION GRO = LOT V4. HIGHLAND LAKES ESTATES CONTACT: MIKE 806-14( BATON ROUGE LA

TRIUMPH HOMES INC TRIUMPH HOMES INC CHRIS COCHRAN LOT 36 PARK PLACE MOBILE AL

BARLOY CONTRACTORS INC LOT #37 FISH RIVER ACRE CIRCLE FOLEY AL

MANLIO J SCOMERSICH DBA MANLIO J SCOMERSICH D/B/A LA

CAPSTONE PARTNERS LLC DOSS FAIRY LOT # 26 KIMBERLY AL

NOLAN CONSTRUCTION TALL TIMBERS SUBDIVISION LAUREN 304-1933 CELL 3835 SOUTH PIN OAK A\ ALGIERS LA

PAM WARD CONSTRUCTION WOODLANDS SUBDIVISION 133 WILLOW LAKE DR LOT 50 FAIRHOPE AL

DAN BOONE CUSTOM HOMES DAN BOONE CUSTOM HOMES = OFF THREE RIVERS ROAD SEE MAP ATTACHED N. BILOXI MS
GEORGIA CONTRACTING INC FRENCH SETTLEMENT LOT #2 HWY 13/ACROSS FRM SI DAPHNE AL

ARK-LA-TEX COMPANIES INC ARK-LA-TEX COMPANIES INC NEW ORLEANS JOB

OMNIBUS INC FRANK'S HOUSE 5323 BANCROFT CHESTER 816-365-1337 NEW ORLEANS LA

JADAM TOWN CONSTRUCTION LLC 3109 EAST LAKESHORE DRIVE NICK 802-8889 BATON ROUGE LA

RJ HOMES LLC RJ HOMESLLC LOT 20 POPCORN DRIVE HILLCREST ESTATES(826- VAN CLEAVE MS
C F LCONSTRUCTION LLC CF LCONSTRUCTION LLC 8874 FAIRHOPE AVE. JUST PAST GRACE BIBLE FAIRHOPE AL

TAFF CONSTRUCTION INC LOT# 23 MILLION DOLLAR LAKES JACK # 515-3386 MCALLA AL

C & P ADAM, LLC BUNKER HILL PROPERTIES 1 7120 & 7122 BUNKER HILL CRAIG 202-5475 R 975-6 NEW ORLEANS LA

ELDER-JONES INC ELDER-JONES INC AMERI PRIDE LINEN(CALL JAMIE) 30TH AVE & 45TH ST(61 GULFPORT Ms
THE DAVID GROUP INC LOT 24 COURTSIDE MANOR CHELSEA AL

CUEVAS CONSTRUCTION INC CUEVAS CONSTRUCTION INC 24 ROYALCR PASS CHRISTIAN MS
MARTINIERE CONSTRUCTION INC MARTINIERE CONSTRUCTION INi 166 PECAN ST. FAIRHOPE AL

MERRITT CONSTRUCTION LLC MERRITT CONSTRUCTION LLC = 2920 TRAVELERS CT DOUG 689-5679 / 490-5: SATSUMA AL

ZIMMER - ESCHETTE SERVICES LLC ZIMMER - ESCHETTE SERVICES LI ROY/ 827-1902 JOB: SHOP METAIRIE LA

GRAND CONSTRUCTION CO BERTUCCI CONTRACTING CORP #7 RIVER ROAD JEFFERSON A

PAUL DAVIS RESTORATION OF BHM 2510 DEAD HOLLOW RD. SOUTH HARPERVILLE AL

LJ & L ENTERPRISES INC CREDIT FOR RETURNED MATERI¢ RE:1179300 COFIELD HOMES = —- LOT 3F FLORENCE GARD GULFPORT MS
G MI CONSTRUCTION INC GUSTE ISLAND LOT 158 BROWN THRASHER LOC GREG 373-8894 MADISONVILLE LA

PONTCHARTRAIN HOMES LLC SAWMILL CREEK LOT 33 PHIL 146*133314*2 PEARL RIVER LA

GULF COAST MENTAL HEALTH CTR GULF COAST MENTAL HEALTH C919 ST JOESEPH BAY ST LOUIS MS
SAMPSON CONSTRUCTION CO LLC DONNIE SAMPSON 3016 TAFT STREET 960-5491 METAIRE LA

BAY AREA CUSTOM HOMES LLC 9550 HACKBERRY CT TIMBERCREEK DEWAYNE SMITH - 510-! DAPHNE AL

RAYABCO HOLDINGS LLC/ 4724 ACADEMY ALLEN

SHOW ME CONSTRUCTION LLC/ 38189 COMMERCIAL COURT —- REBECCA 573-657-7663

FOCUS OCEAN SPRINGS LLC HAROR LANDING 2421 BEACHVIEW DR CALL PATRICK @ 646 85: OCEAN SPRINGS MS
STEVE RING CONTRACTORS LLC RUE CHARDONNAY VILLAGE DON HATTERLY 472-0157 OFFIC W. ESPLANADE & WILLI¢ KENNER LA

sree nme erage ne etter
Case 2:09-md-02047-EEF-MBN Document 8628-4

NORTH PACIFIC GROUP INC

JOHN ECKENSTALER BLDRS INC

R DIAMOND INC

ALLEN TINGLE LLC

DONALD R ESCHLIMAN II}

GS D DEVELOPMENT CO

GS MASTERS INC

J R KAISER CONSTRUCTION LLC
AREA RECOVERY CONTR LLC
CAREMIA BUILDERS LLC

CALVIN J GALLIANO

AN A TOWNSEND HOMES LLC
JENSEN BUILDERS INC

T MAC INC

JAMES MARGAVIO D/B/A

DESIGN BUILT CONSULTING INC
SEA BREEZE CUSTOM HOMES LLC
PIONEER CONSTRUCTION LLC
PRIME CONTRACTING LLC
UPLAND CONST COLLC
ANDREW J BROUSSARD D/B/A
DYAS CONST MANAGEMENT LLC
CORNERSTONE BUILDERS INC

C. ADAMS CONST & DESIGN LLC
CHARLET BROTHERS LLC

MARK STEVENS CONSTRUCTION LLC
SCOGGIN HOMES INC

LEE ROY JENKINS BUILDER
BENTON HOME BUILDING LLC

CP CUSTOM HOMES LLC

BAY CONSTRUCTION CO INC

REVE INC

SUPREME COMMERCIAL CONTR LLC
ADRIAN L JOHNSON

D R HORTON INC

ARNOLD SCHIELDS

MCHUGH CONSTRUCTION LLC
CN MANALE CONSTRUCTION CO INC
RUTLEDGE HOMEBUILDERS
FLEMING CONSTRUCTION
BRIGHTON HOMES K HOVNANIAN
UNIQUE HOMES LLC

TABER CONSTRUCTION LLC
RIVERSIDE HOMES INC

BERT P NOOJIN CONSTRUCTION:
ESTABAN MORENO

JW S CONSTRUCTION INC

R&R BUILDERS LLC

THE CLARK ORGANIZATION LLC
CARRIERE-STUMM, LLC

GORMAN CONSTRUCTION LLC
TITUS DEVELOPMENTS LLC

RL BARBEE BUILDERS INC

SITE MGMT INC. DBA

JORDAN & JONES DEVELOPMENT LLC
GARONER DEVELOPMENT C/O
KENSINGTON CUSTOM HOMES INC
CATALANO CUSTOM HOMES LLC
M.A. ROBERTS JR. & ASSOC,
TRICORE CONSTRUCTION, INC
ALLIANCE CM CORPORATION
ALLEN KOEPP CONSTRUCTION, LLC
PRESTIGE CARE, LLC DBA

NORTH PACIFIC GROUP INC
JOHN ECKENSTALER BLDRS INC
ELMWOOD APTS

4951 LANCELOT

DONALD R ESCHLIMAN It
PELICAN PLAZA Il

G& S MASTERS INC

RUSTY KAISER 504-487-1198
AREA RECOVERY CONTR LLC
GULFPORT SALES

CALVIN J GALLIANO

HENRY 969-7902

JOB:7027 ST CHARLES AVE
2036 LANDRY COURT

820 SOFIA

. DESIGN BUILT CONSULTING INC

#7 CYPRESS POND CIRCLE
108 MAGNOLIA DRIVE
GULFPORT SALES

LOT 7 MILLION DOLLAR LAKES
Aj

TRENTINO LOT #6
CORNERSTONE BUILDERS INC
745 SPRING THYME DR.
COPPER MILL

P.O DRAWER 391

AVALON

2020 LAWERENCE ST

OFF READ BLVD

13072 STATE ST

4470 BLUE BONNET BLVD

LOT 78 CHELSEA PARK

158 RUE LANDRY

4701 TABONY ST.

CARMIA-KEY WEST COMMONS
28262 LOUISIANA POLO FAMRS
42577 AMY DR

ED 985)373-2949

WAYNE/ 915-0404

39 CHAPLE HILL

FLOWER ESTATE
MASONIC LODGE
RANDY 365-3391
919 AMELIA ST

73274 PINN MILL RD
SPRINGWOOD ESTATES S/D
LOT 12

MARK STEVENS CONSTRUCTION LLC

SCOGGIN HOMES INC THE SAVANNAH'’S

300 CARRAIGE PINES LOT 15 SAVANNAHS

18572 FOUNDERS DRIVE DAN BENTON 251-209-9463
HIDDEN BROOK LOT 33

RANGELINE RD

310 W. LAWSON 5T BILL 236-0825

85 AUDOBON BLVD MICHAEL 495-0051
HAAS/DENNIS JOB 575 FAIRHOPE AVENUE
ELMWOOD PARK 42075 SOUTH ELMWOOD LOOP
ARNOLD SCHIELDS 128 EMERSON

THE VERSAILLIES LOT 170

CN MANALE CONSTRUCTION CC 45373 BUTCH GORE RD.
HICKORY RIDGE EST. LOT 46

FLEMING CONSTRUCTION 23 E, AIRLINE HWY.

20022 CYPRESSWOOD SQUARE CEYPRESSWOOD LAKE
UNIQUE HOMES 363 SUGAR WOOD BLVD

LOT #159 MATCHEX LOOP

THE VILLAGE S/D

RIVERSIDE HOMES/DOMINION S LOT 83 JADE CT 355 JADE CT
23937 HY 59, MONTROSE PLAZA NEXT TO CARQUEST

ESTABAN MORENO

J WS CONSTRUCTION INC
LOT3

340 CATHEDRAL

DUPUI 6

5539 WEST END BLVD
TITUS DEVELOPMENTS LLC
RL BARSEE BUILDERS INC
LOTO

COPPER MILL

8520 HICKORY/UPTOWN
MIKE SHAPEE

8108 BROMLEY
LOT 120 W. COLE CREEK LOOP
COPPERMILL SUBDIVISION

8300 DOUGLAS ST.

RICKY/ 914-1967

13444 OLD WOOLMARKET RD
AUSTIN PARK LOT 39
MELODY DR,

LOT 100

DILLON 312-9966

13230 MURPHY RD SUITE 400

CATALANO CUSTON HOMES LL(LOT 1A 8TH ST

30321 WOODLAND WEST
CHOICE SUPERMARKET
POINT EIGHT POWER

BRIER LAKE

OLD HUSONS OFF OF POPPS FERRY

1510 ENGINEER RD

ALLEN KOEPP CONSTRUCTION, L 105 PEBBLE BEACH

PRESTIGE CRE, LLC D/B/A

TROY 382-0878

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WAYNESBORO MS

LOT 77 HALCYON CT DAPHNE AL

205 368-3109 BILOXI MS

ALLEN 985-966-6146 NEW ORLEANS LA

JEFFERSON SUB HAMMOND LA

CONTACT: KEN 926-170( BATON ROUGE LA

‘ 280 AL

ST. ROSE lA

METAIRIE lA

1120 UNITA GULFPORT MS
OFF TURNPIKE 805-455- FOLSOM

PONCHATOULA = LA
NEW ORLEANS LA
PARK OAKS SUBDIVISIO CHALMETTE LA

CLAIBORN OAKS

BAY ST LOUIS MS
FOLEY AL
CALL FIRST 985-869-015 COVINGTON LA
711 HOWARD AVE BILOXI MS
MCCALLA AL
606-0911 CELL GRETNA lA
FOLEY AL
COVINGTON lA
CHRIS 628-6364 ERIC 62. BELLE CHASSE lA
ZACHERY LA

220 COTTAGE GREEN LA COVINGTON LA
LEE ROY 985-966-3786 COVINGTON LA
FAIRHOPE AL
ARGO AL
MOBILE AL
NEW SARPY 1A
NEW ORLEANS LA
FAJRHOPE
HAMMOND
KENNER
MIKE 630-9870 COVINGTON
CONTACT: CHRIS 931-33 SAINT AMANT
DORA
KENNER
HOUSTON
CONTACT DONN 985-80: HOUMA
COVINGTON ©
EMILE 893-5703/985-37 MADISONVILLE

IN THE BACK, DR. OFFICE MONTROSES

ZND #985-652-4663

LOT 12

B52

281-932-2627 HOUSTON

SCOTT 969-2065 HAMMOND
ZACHARY
BEAUMONT

BOB (832) 519-5891 NEW ORLEANS

NEAR FLORIDA AVENUE NEW ORLEANS
JOHN LEE AND OLD WOC WOOLMARKET
11336 ELYSIAN CIRCLE BELFOREST

SESEZSSASSESESSESRESHE SESELASERS

SUDELL
STANDREWS DRIAVE ZACHARY
2ND # 782-7574 NEW ORLEANS
281-788-6500 CELL STAFFORD
COVINGTON
LACOMBE
DEIBERVILLE
CURTIS (985) 446-9664 BELLE CHASSE
SLIDELL
2208 JEAN LAFETTE CHALMETTE

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LUCAS HOMES, LLC

ROSEWOOD INC.

MCS CONTRACTING INC. J/P

K & R CONSTRUCTION, INC
LANCASTER HOMES

THE CLESI CORP

EDWARD L BOESCH I!

HITT DEVELOPMENT LLC

OSTER PROPERTIES, INC
ALEXANDER HOMES, LLC
ARANDA CUSTOM HOMES, LLC
PROFESSIONAL BUILDERS, INC.
CENA HOMES, INC

QUTREACH INCORPORATED
PHILIP MASSON

VINING CONSTRUCTION, LLC
CHRISTI HOMES, LLC

AL SIZELER CONSTRUCTION
VILLA CORP INC :
LOWE'S DISTINGUISHED HOMES INC
THOMPSON CONTRACTING
BALLS DEVELOPMENT LLC

T-BO CONTRACTING LLC
EUBANK CONSTRUCTION CO INC
ASHBREN PROPERTIES

K MH ENTERPRISES LLC

LA HOMES INC

GINGER FORD HABITAT FOR HUMAN.
PETE BENGE

TOM DAVIS CONSTRUCTION INC
DR HORTON INC

BOBBY EZELL BUILDERS INC

RA CARROLL CONST LLC

LOMAC BUILDERS, LLC

BELFOR USA GROUP, INC ©
EXCELSIOR, LLC

M TANNER CONSTRUCTION, LLC
STEVEN D. OLIVIER, INC

OBRA HOMES, INC.

MISWACO

CARLISLE HOMES 1, LTD.
LANDRUM BUILDERS, INC.

G. W. CONSTRUCTION

HABITAT FOR HUMANITY INT'L
DUPONT HOMES

CONTINENTAL CONSTRUCTION, LLC
STUART CONSTRUCTION, LLC
TANGI CONSTRUCTION OF LA, INC.
SPROUL BUILDING CO,, INC.
ROBERSON GENERAL CONSTRACTORS,
EXCALIBUR INTERNATIONAL LLC
KREATIVE KUSTOM HOMES

LOT 44 CHELSEA RIDGE ESTATES OFF COUNTY RD 49

ROSEWOOD INC,

LOT #1919 HIGHLAND LAKES

FULLBROOKS SHOPPING CENTER 1924 D1 PUNIT B
EASTERN HEIGHTS CONDOMINIL OFF 190 COMING FROM COVING ROGER GILL 985-969-38! HAMMOND

LANCASTER HOMES

17542 SANDERS RD 839-2321
2917 CORRINE

AMBER TRACE

1985 HICKORY RD

LOT # 50

ARANDA CUSTOM HOMES, LLC
TRINITY CHURCH

LOT 818

OUTREACH INCORPORATED
PHILIP MASSON

VINING CONSTRUCTION, LLC

127 POINT BROAD OAKS

JIM DAVIDSON 504-616-5468
RAY

OFF HWY 31

TAYLORS COVE

42270 FM 1458

LEGACY OF GREYSTONE
1344 FULTON AVE
4730 OLD MANDEVILLE DR
DOE RUN LLOT 12

CHELSEA
INVERNESS
LIBERTY ATFULBROOK MOBILE

HOUSTON
FRANKLINTON
CHALMETTE
SLIDELL
VESTAVIA -
PUT IN BASEMENT MOODY
ROBERT 832-794-8488 BROOKSHIRE
MCCALLA
BASEMENT HOOVER
CORNER HOUSE / REMO BIRMINGHAM
PHILIP 504-460-9073 MANDEVILLE
RONALD 985-351-4560 AMITE

INNER UNIT

CHRISTI HOMES, LLC 449 PRINTIS (THE ISLE) . PASS CHRISTIAN
AZALEA GARDENS 601 & 603 LAURICELLA AVENUE STEVE 382-1806 JEFERSON
VILLA CORP INC 5173 CALDWELL MILL RD HOOVER
LOWE'S DISTINGUISHED HOMES LOT 387 BEDICO MEADOWS BEDICO

THE GROVE LOT #36 ALABASTER
5670 EVELYN COURT FRANK BELL/ 884-6423 NEAR ACADEMY DRIVE NEW ORLEANS
CASTINE OAKS LOT #4 MANDEVILLE
397 GULF VIEW LANE PAST FLORA-BAMA ABOUT 2 MIl ON LEFT GULF SHORES
ASHBREN PROPERTIES LOT 25 COUNTRY CLUB EST HAMMOND

K MH ENTERPRISES LLC D/B/A ~+AMERICAN HOMES 690 SAVANNAH DR D'IBERVILLE
4440 PARK SHORE DR LOT 5 5Q.11 MONACO A GILL 382-1203 R 328-75{ MARRERO

HABITAT FOR HUMANITY HAMNV 49310 WESTERN ACRES

PETE BENGE

LOT 209 157 SANCTUARY DR

TOM DAVIS CONSTRUCTION INC 10588 JOE BOARDMAN

CREDIT FOR RETURNED MATERI/ RE:1184781 ENGLISH MANOR

BOBBY EZELL BUILDERS INC
HIDDEN BROOKE

SCOTT PLANTATION LOT 2
BELFOR USA GROUP, INC
3330 JEFFERSON AVENUE

17027 OCTAVIA ST
LOT #10

10077 BUTTERCREME DRIVE SOU ROBERT 422-2558

KEESLER AFB SHAW BLDG
ARLEEN PICHOFF/ 258-4925

M TANNER CONSTRUCTION, LLC AURBOR TRACE LOT6

STEVEN D. OLIVIER, INC
BRIDGEWATER MEADOW
VENICE REPAIRS
SOUTHRIDGE CROSSING
LANDRUM BUILDERS, INC.
G. W. CONSTRUCTION

4955 HIGHLAND ROAD
MODEL HOME
DWAYNE 601-467-1252
13946 ENRIDGE LANE
LOT# 123 ASBURY PARK
2704 7TH ST NE

HABITAT FOR HUMANITY INTER! LOT 6 ALEXANDER

25066 SCHUBERT LN

CONTINENTAL CONSTRUCTION,

OSCHNER'S MEDICAL PLAZA IIt
358 LAKE ORLEANS
LOT# 20 BRIDGEWATER

LAURA’ 966-3018

LOT #502 BROOKHAVEN
OFF ONEAL LN.

KENNY 985-335-4575
BOB # 982-5010 EXT#105

ROBERSON GENERAL CONSTRAC 297 CYPRESS LAKE DRIVE

399 AUDUBON STREET
KREATIVE KUSTOM HOMES

NEWTEK DEVELOPMENT CORPORATION 338 W ROBERT E LEE

FRENCH HOMES, LLC

J.C. PATIN GROUP, LLC

DRURY HOTELS

THE ART OF THE BUSINESS

CARL J. HEITZMANN, INC
PROBUILDERS & RESTORATION OF
DUHE CONSTRUCTION, INC,
SOMS Ill CONSTRUCTION

HOMES BY LAWRENCE & PAULINE
AZALEA GARDEN PROPERTIES

FRENCH HOMES, LLC
228-230 S ALEXANDER ST
DRURY HOTELS

THE ART OF THE BUSINESS
CARL J, HETTZMANN, INC

CORY/ 985-960-2915

114 MILTON ST.

JEREMY/ 985-373-0663

LOT 146 BEADICO MEADOWS
JIMMY 225)933-3887

+65 SERVICE RD.

#34 SOVERIGN CIRCLE

117 SYCAMORE

PROBUILDERS & RESTORATION ( PETERS

DUHE CONSTRUCTION, INC.
SOMS Ill CONSTRUCTION

41192 HAPPYWOODS RP
111 SEABROOK DR.

HOMES BY LAWRENCE & PAULIN 163 QUAIL CIRCLE

616 & G18 LAURICELLA AVE

FRANK 833-6362

SARAH 985-542-6866 TICKFAW
MANDEVILLE

BY BUDWEISER GULFPORT

16383 LANCASTER COVE GULFPORT

HAMMOND

TRUSSVILLE

MOBILE

+e **ATH FLOOR***** BILOXI

JIM PICHOFF/ 258-4520 NEW ORLEANS

MARVIN 504-450-0663 HAMMOND

MARK (225)766-1118 BATON ROUGE

CARLOS 713-256-8764 KATY

72 MCDERMETE VENICE

JAMES 281-303-1436 HOUSTON
HELENA/HOOVER
BIRMINGHAM
BILOXI
COVINGTON
MARGARET

MICKEY > 293-8650 BATON ROUGE
PONTCHATOULA
HOOVER
FOLEY

CORNER PITT NEW ORLEANS
LAPLACE

NEWTEK NEW ORLEANS
BEDICO
NEW ORLEANS
MOBILE

JEFF 713-856-5359 SUGARLAND
BAY ST. LOUIS

151 CHAPILU .

GLEN 985 969 0975 HAMMOND

342 1089 WAVELAND
SUNSET

2ND # 415-1533 CELL JEFFERSON

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RCJ HOME BUILDING, INC.

CASE CONSTRUCTION, LLC

BUILDERS EDGE LLC

HUGHES HOMEBUILDERS INC
RYTAM CONSTRUCTION SERVICES IN
DANA DUGAS AFFORDABLE HOMES IN
VACCARO HOMES LLC
STONEWALL CONSTRUCTION
NORRIS STOUTE BUILDERS INC
GRAY'S CREEK OF LALLC

LAFAYETTE HABITAT FOR HUMANITY
TEAM MANAGEMENT LLC
GALLAGHER HOMES INC

TERRY HOWELL

NOFIO J, PECORARO

TODAY'S GENERAL CONSTRUCTION
NEWCO CONSTRUCTION OF AMERICA
RESTORED DEVELOPMENTS CO., LLC
DONALD G, MELTON

KELVIN J. SCHULZ REAL ESTATE S
BRAD RAINEY HOMES, INC.
ROBINSON MAYER BUILDERS

C. A. BROWN DEVELOPMENTS, INC
ROGER ELLERMAN CONSTRUCTION CO
MANUEL BUILDERS, LLC
WATERFRONT CONSTRUCTION, INC.
SOUTHERN BROTHERS CONSTRUCTION
CITY OF OXFORD C/O BONNER'S
LEWIS INTEGRITY HOMES INC

CADIS CONSTRUCTION, LLC
MARIOTT HOMES, INC.

GLEN BISHOP HOMES

FONSECA BUILDERS, LLC

CAMBRE CUSTOM HOMES, INC.
SCHRODER DEVELOPMENT GRP.
RES BUILDERS, INC.

SUPERIOR CONSTRUCTION, LEC
ARMSTRONG-N-CONSTRUCTION, LLC
BRETT REYNOLDS

LEGACY REAL ESTATE SERVICES
MAJESTIC CUSTOM HOMES, INC
MAR-KEY BUILDERS, INC,

BENTON CONSTRUCTION, LLC
HABITAT FOR HUMANITY OF
WEEKES CONSTRUCTION, INC

AGH HOMES INC

5 & B CONSTRUCTION, LLC

BUQUOI! CONSTRUCTION, LLC.
WARSHAUER CONSTRUCTION CO.
STONEHAVEN HOMES OF OVERTON, L
THOMAS STEBER DBA

LOCALS HELPING LOCALS

B. C. DANIELS, INC.

CONCO CONSTRUCTION, INC.
CONSTRUCTION SOUTH

JOSEPH COSTA CO

CRANE BUILDERS, INC.
SPARTAN BUILDING CORP,
Ferran-Hardie Homes Inc.
Charles Carter & Co. Inc,
Superior Petroleum Svcs, Inc.
CIFRA Construction Co.

GREYSTONE

CASE CONSTRUCTION, LLC
LOT 206

LOT#H 86 THE VILLAGE AT

LOT 7

56 MIDTOWN PARK W
CONTACT GRG 803-2886
HIGHLAND LAKES

1661 LAFRIENERE/OFF PARIS AV WHITNEY 615-2715
KENNETH & WANDA BOURGEO!! 6832 RICE COVE RD

VACCARO HOMES LLC 526 BENTWOOD DR
STONEWALL CONSTRUCTION

106 DEER RUN

LOT 40 GRAY'S CREEK 9144. KANAWHA COURT
LAEAYETTE HABITAT FOR HUMA LOT 12 EAST GILMAN
TEAM MANAGEMENT LLC 84563 CLARANCE
GALLAGHER HOMES INC 20S WOODBRIDGE
21990 COUNTRY WOODS LOT 1 COUNTRY WOODS
NOFIO |. PECORARO 137 MARGARET ST.

TODAY'S GENERAL CONSTRUCTH MIKE GROSS HOUSE

SAMS WAREHOUSE
13305 SANDLEWOOD DR
DONALD G. MELTON

10444 NORTH MALL DRIVE
CHRIS PINTO 985-807-4217
FARIS JOB

KELVIN J. SCHULZ REAL ESTATE S 10972 ALAMANA ST

BRAD RAINEY HOMES, INC.
ROBINSON MAYER BUILDERS

18386 PINE RIDGE TRAIL
TERRY ROBINSON HOUSE

C. A. BROWN DEVELOPMENTS, I FLORENCE GARDENS
ROGER ELLERMAN CONSTRUCT GEORGE MOORE

SUMMERS

1597 MARCIA AVE

WATERFRONT CONSTRUCTION, | DELCHAMPS RD.
COUNTRY CLUB OF LOUISIANA JUSTIN 504-218-9892

CORNER OF MAIN ST & SPRING ST

17752 SOUTH LINK CIRCLE
OXFORD LIBRARY

LAKE HOUSE

AUTUMN CREEK
MARIOTT HOMES, INC.
GLEN BISHOP HOMES
FONSECA BUILDERS, LLC

CAMBRE CUSTOM HOMES, INC.

NORMANDY OAKS

RK S BUILDERS, INC.
BRENTWOOD LANE HOUSE
SLEEP INN HOTEL

C ANDERSON CONST.

LEGACY REAL ESTATE SERVICES
GRAND MAISON

MAR-KEY BUILDERS, INC.
AUTO ZONE 722 AVE G

PERSONAL
LOT 101

5108 MIRAMONT CIRCLE
11.637 VENICE BLVD.

112 MASONRY

7912 EWA CT.

LOT 269

804 BOSTON ©

TOM NYGUEN 621-4255 CELL

423 BELLAIRE DR.

205 NOAH

LOT 70

123 DIAMOND CREEK
DWAYNE 501-882-5664

HABITAT FOR THE HUMANITY OI LOT122 LIMA DRIVE

MALLO F LOUISIANA
LOT# 14 BALANTRAE
LOT# 63 STERLING LAKES

LOT 13 CESSMA ST SUB-DIVISION CONTACT ANTHONY 806-8808

AUTUMN CREEK

SUNGLASS HUT

S. SHADES CREST

LOT 77

STONEHAVEN HOMES OF OVERT 1747 RUSSET WOODS LANE

THOMAS STEBER DBA
KEVIN 504-813-6823
LIGHTFOOT HOME
VENICE - UNIT 300-B
3721 KAREN DR

JOSEPH COSTA CO

5400 DANA COURT

HWY 59 AND FLORDIA
Ferran-Hardie Homes, Inc,
Country Kitchen

PO# 100826

CIFRA Construction Company

TPS DEVELOPMENT

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SUITE A

NO 2ND

42379 BROADWALK AVE HAMMOND

CONTACT: TROY 791-271 DENHAM SPRINGS

BARREL 985 320 7849

HOOVER AL
MOBILE AL
PLAQUEMINE LA
INVERNESS
NEW ORLEANS
ABBEVILLE
COVINGTON

>
=

LAFAYETTE

LAYAYETTE
SUN
LAFAYETTE
FAIRHOPE
MOBILE

ZFESESSESEES

13085 JORDAN BLUFF RI KILN MS
CONTACT JEFF 276-733-. BATON ROUGE LA
LA

709 E SCENIC DRIVE

BAYOU OAKS
LOT 9H
606 2ND ST.

JUSTIN 146*133705*8
MIKE 979-777-7823
PUT IN GARAGE

HOWELLS FERRY & MEADOWLAKE

LOUIS 236-4558
JOB; MARSHALL FOCH

SHAWN 628-0604 OR 891-5461 BY CITY PARK AVENUE

OLD PMI BUILDING
3708 North Labarre
7808 Howell Place by airport

Long Beach Day Care

FRANKLINTON
PASS CHRISTIAN =>MS
DIAMONDHEAD MS

SAUCIER MS
GULFPORT MS
GULFPORT MS
GULFPORT MS
ABBEVILLE LA

DAUPHIN ISLAND AL
BATON ROUGE lA

OXFORD AL
SMITH LAKE AL
MADISONVILLE LA
BRYAN X

MAGNOLIA SPRING! AL
YOUNGSVILLE LA
DIAMONDHEAD MSs

JOHN 237-9621 COVINGTON LA
RYAN 281-380-3669 DEER PARK ™
317 BRENTWOOD AVE TRUSSVILLE AL
6589 WESTBANK EXPRE! MARRERO LA
SARA 834-6209 NEW ORLEANS tA
LAFAYETTE 1A
CHRIS 630-1512 MANDEVILLE LA
ARBOR TRACE SUBDIVIS: BROUSSARD LA
KENTWOOD
HICKORY HILLS. GAUTIER MSs
ALLEN 864-350-0536 BATON ROUGE LA
PELHAM - AL
HOOVER AL
GONZALES LA
RYAN 966-5442 MADISONVILLE
HOOVER AL
26170 TERRY COVE DR, ORANGE BEACH AL
96 EAST CAIBORNE SQ CHALMETTE LA
SEIMMES AL
CHALMETTE LA
JOE/ 834-5594 NEW ORLEANS LA
NEW ORLEANS lA
MANDEVILLE 1A
Jason Metairie lA
BATON ROUGE LA
Long Beach MS

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Anthony R. Fradella Gen Contrac 2121 Bartolo
M Carbine Restoratians 14 Versais Blvd. New Orleans LA
Lanehart Inc. LAKE HOUSE 12339 Fairlane Lot #22 St. Francisville LA
POIRRIER CONSTRUCTION CO INC WAREHOUSE 686 KORNMEYER PLAZA COURT CONTACT: DWAYNE 933 BATON ROUGE LA
HALLMARK BUILDERS INC DAVID FAUGHT HOUSE CHELSEA AL
BOB ROBERTS & CO INC GADSDEN MALL GADSDEN AL
G & E CONSTRUCTION INC G & E CONSTRUCTION INC 949 A ALTON PARKWAY DONATION BIRMINGHAM AL
E.C.0. BUILDERS INC £.C.0, BUILDERS INC 61050 EAST SPRINGMILL DR LUIS 985-710-9557 LACOMBE LA
REDDING CONSTRUCTION INC 2401 JEFFERSON AVENUE MARK/ 415-3291/ (NEXTEL) 305: NEAR FRERET NEW ORLEANS LA
ABILITY GENERAL CONTRACTORS RICKY’S 8001 HALF MILE RD IRVINGTON AL
M CS5TEELE INC FAMILY DOLLAR MIKE 416-0479 CELL 1900 LAFAYETTE HARVEY LA
SIMMONS & SIMMONS CONTRACTING SIMMONS & SIMMONS CONTRA & SUPPLY INC DELIVER TO WAREHOUS ANNISTON AL
BRANDHURST CONST CO INC : 940 N CARROLLTON AVE MONICA 909-8799 NEW ORLEANS LA
GENERAL CONSTRUCTION SERV INC GENERAL CONSTRUCTION SERV ROMAN 913-9794 4650 WOODLAND METAIRIE LA
BEN M. RADCLIFF CONTRACTOR,INC BEN M. RADCLIFF CONTRACTOR, CHURCH DOWNTOWN MOBILE AL
THORNCO INC CAPITAL VALVEAND FITTING 1812 ENGINEER ROAD SEE MAP AT FAX BELLE CHASE LA
CHAPMAN DEVELOPMENT CORP CHAPMAN DEVELOPMENT CORP 6215 RANGELINE RD THEODORE AL
F &S INVESTMENTS JENA ST NEW ORLEANS LA
ROWE GENERAL CONTRACTING LLC JOSEPH A BANKS / LEGACY VILLA OFF DAUPHIN ST MOBILE AL
CACIOPPO INC HOLIDAY INN . ‘

SOUTH OF POINT CLEAR FAIRHOPE AL

LEE L. SAAD CONST. CO., INC.
BOARDWALK DRYWALL, INC.
NEW PORT RICHEY, FL

JARREAU'S DRYWALL, INC.
BATON ROUGE, LA

ED PRICE BUILDING MATERIALS
BATON ROUGE, LA

HAROLD FRANK CAUSEY
ETHEL, LA

LOWE'S COMPANIES, INC.
WILKESBORO, NC

KCG, INC.
LENEXA, KS

SWIFT LUMBER, INC.
ATMORE, AL

LEEL. SAAD CONST.CO.,INC. 11377 COUNTY ROAD 2

